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18
     Attorneys for Plaintiff
19   AARON KHERIATY, M.D.
20
                            UNITED STATES DISTRICT COURT
21
                          CENTRAL DISTRICT OF CALIFORNIA
22
                                    SOUTHERN DIVISION
23
24
     AARON KHERIATY, M.D.,                          Case No.: 8:21-cv-01367 JVS (KESx)
25
26                                Plaintiff,        DECLARATION OF PETER A.
     v.                                             MCCULLOUGH, MD, MPH IN
27
28                                              1
     __________________________________________________________________________________
          DECLARATION OF PETER A. MCCULLOUGH, MD, MPH
                                      PRELIMINARY INJUNCTION
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 1   THE REGENTS OF THE UNIVERSITY MOTION FOR PRELIMINARY
     OF CALIFORNIA, a Corporation, and INJUNCTION
 2
     MICHAEL V. DRAKE, in his official
 3   capacity as President of the UNIVERSITY
                                              Date: September 27, 2021
     OF CALIFORNIA,
 4                                            Time: 1:30 pm
                                              Place: Courtroom 10C
 5                                Defendants.
                                              Judge: Hon. James V. Selna
 6
 7
     I, Peter A. McCullough, MD, MPH, declare as follows:
 8
             1.    I am an adult of sound mind and make this statement voluntarily, based upon
 9
     my own personal knowledge, education, and experience.
10
             2.    I have reviewed the Declaration of the University of California Faculty in
11
12
     reasoning and conclusions.
13
             Experience & Credentials
14
             3.    I am competent to testify to the facts and matters set forth herein. A true
15
     and accurate copy of my curriculum vitae is attached hereto as Exhibit A.
16
             4.                                                                            d my
17
     medical degree as an Alpha Omega Alpha graduate from the University of Texas
18
     Southwestern Medical School in Dallas. I went on to complete my internal medicine
19
     residency at the University of Washington in Seattle, a cardiology fellowship including
20
     ser
21
     health at the University of Michigan.
22
             5.    I am board certified in internal medicine and cardiovascular disease and hold
23
     an additional certification in clinical lipidology, and previously echocardiography. I am
24
     on the medical staff at Baylor University Medical Center and Baylor Jack and Jane
25
     Hamilton Heart and Vascular Hospital, in Dallas, Texas. I am also on staff at Baylor
26
     Heart and Vascular Institute, which promotes cardiovascular research and education. I
27
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     __________________________________________________________________________________
           DECLARATION OF PETER A. MCCULLOUGH, MD, MPH
                                       PRELIMINARY INJUNCTION
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 1   practice internal medicine and clinical cardiology as well as teach, conduct research, and
 2   I am an active scholar in medicine with roles as an author, editorialist, and reviewer at
 3   dozens of major medical journals and textbooks. I am also a Professor of Medicine at
 4   Texas A & M University School of Medicine, Baylor Dallas Campus.
 5         6.     I have led clinical, education, research, and program operations at major
 6   academic centers (Henry Ford Hospital, Oakland University William Beaumont School
 7   of Medicine) as well as academically oriented community health systems. I spearheaded
 8   the clinical development of in vitro natriuretic peptide and neutrophil gelatinase
 9   associated lipocalin assays in diagnosis, prognosis, and management of heart and kidney
10   disease now used worldwide. I also led the first clinical study demonstrating the
11   relationship between severity of acute kidney injury and mortality after myocardial
12   infarction. I have contributed to the understanding of the epidemiology of chronic heart
13   and kidney disease through many manuscripts from the Kidney Early Evaluation Program
14   Annual Data Report published in the American Journal of Kidney Disease and
15   participated in clinical trial design and execution in cardiorenal applications of acute
16   kidney injury, hypertension, acute coronary syndromes, heart failure, and chronic
17   cardiorenal syndromes. I participated in event adjudication (involved attribution of cause
18   of death) in trials of acute coronary syndromes, chronic kidney disease, heart failure, and
19   data safety and monitoring of anti-diabetic agents, renal therapeutics, hematology
20   products, and gastrointestinal treatments. I have served as the chairman or as a member
21   of over 20 randomized trials of drugs, devices, and clinical strategies. Sponsors have
22   included pharmaceutical manufacturers, biotechnology companies, and the National
23   Institutes of Health.
24         7.     I frequently lecture and advise on internal medicine, nephrology, and
25   cardiology to leading institutions worldwide. I am recognized by my peers for my work
26   on the role of chronic kidney disease as a cardiovascular risk state. I have over 1,000
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28                                               3
     __________________________________________________________________________________
        DECLARATION OF PETER A. MCCULLOUGH, MD, MPH
                                    PRELIMINARY INJUNCTION
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 1                                                                    ook.   My works have
 2   appeared in the New England Journal of Medicine, Journal of the American Medical
 3   Association, and other top-tier journals worldwide. I am an associate editor of the
 4   American Journal of Cardiology and the American Journal of Kidney Diseases. I have
 5   testified before the U.S. Senate Committee on Homeland Security and Governmental
 6   Affairs, the U.S. Food and Drug Administration Cardiorenal Advisory Panel and its U.S.
 7   Congressional Oversight Committee, and the Texas Senate Committee on Health and
 8   Human Services.
 9            8.    I am a Fellow of the American College of Cardiology, the American Heart
10   Association, the American College of Physicians, the American College of Chest
11   Physicians, the National Lipid Association, and the National Kidney Foundation. I am
12   also a Diplomate of the American Board of Clinical Lipidology.
13            9.    In 2013, I was honored with the International Vicenza Award for Critical
14   Care Nephrology for my contribution and dedication to the emerging problem of
15   cardiorenal syndromes. I am the President of the Cardiorenal Society of America, an
16   organization dedicated to bringing together cardiologists and nephrologists and engage
17   in research, improved quality of care, and community outreach to patients with both heart
18   and kidney disease.1
19            10.   I am the current President of the Cardiorenal Society of America, a
20   professional organization dedicated to advancing research and clinical care for patients
21   who have combined heart and kidney disease. I am the Editor-in-Chief of Cardiorenal
22   Medicine, a primary research journal listed by the National Library of Medicine which is
23   the only publication with a primary focus on research concerning patients with combined
24   heart and kidney disease. Finally, I am the Editor-in-Chief of Reviews in Cardiovascular
25
26
27   1
         https://cardiorenalsociety.org/.
28                                               4
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           DECLARATION OF PETER A. MCCULLOUGH, MD, MPH
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 1   Medicine, a widely read journal that publishes reviews on contemporary topics in
 2   cardiology and is also listed by the National Library of Medicine.
 3         11.   My curriculum vitae further demonstrates my academic and scientific
 4   achievements and provides a list of publications authored by me in the past 30 years.
 5         12.   Since the outset of the pandemic, I have been a leader in the medical
 6   response to the COVID-19 disaster and have publish
 7   Rationale for Early Outpatient Treatment of SARS-CoV-2 (COVID-
 8   first synthesis of sequenced multidrug treatment of ambulatory patients infected with
 9   SARS-CoV-2 in the American Journal of Medicine and updated in Reviews in
10   Cardiovascular Medicine.2 I have 40 peer-reviewed publications on the COVID-19
11   infection cited in the National Library of Medicine. Through a window to public
12   policymakers, I have contributed extensively on issues surrounding the COVID-19 crisis
13
14
     2
15     McCullough PA, Kelly RJ, Ruocco G, Lerma E, Tumlin J, Wheelan KR, Katz N, Lepor
     NE, Vijay K, Carter H, Singh B, McCullough SP, Bhambi BK, Palazzuoli A, De Ferrari
16
     GM, Milligan GP, Safder T, Tecson KM, Wang DD, McKinnon JE, O'Neill WW, Zervos
17   M, Risch HA. Pathophysiological Basis and Rationale for Early Outpatient Treatment of
     SARS-CoV-2 (COVID-19) Infection. Am J Med. 2021 Jan;134(1):16-22. doi:
18
     10.1016/j.amjmed.2020.07.003. Epub 2020 Aug 7. PMID: 32771461; PMCID:
19   PMC7410805 available at https://pubmed.ncbi.nlm.nih.gov/32771461/; McCullough
     PA, Alexander PE, Armstrong R, Arvinte C, Bain AF, Bartlett RP, Berkowitz RL, Berry
20
     AC, Borody TJ, Brewer JH, Brufsky AM, Clarke T, Derwand R, Eck A, Eck J, Eisner
21   RA, Fareed GC, Farella A, Fonseca SNS, Geyer CE Jr, Gonnering RS, Graves KE, Gross
     KBV, Hazan S, Held KS, Hight HT, Immanuel S, Jacobs MM, Ladapo JA, Lee LH, Littell
22
     J, Lozano I, Mangat HS, Marble B, McKinnon JE, Merritt LD, Orient JM, Oskoui R,
23   Pompan DC, Procter BC, Prodromos C, Rajter JC, Rajter JJ, Ram CVS, Rios SS, Risch
24   HA, Robb MJA, Rutherford M, Scholz M, Singleton MM, Tumlin JA, Tyson BM, Urso
     RG, Victory K, Vliet EL, Wax CM, Wolkoff AG, Wooll V, Zelenko V. Multifaceted
25   highly targeted sequential multidrug treatment of early ambulatory high-risk SARS-CoV-
26   2 infection (COVID-19). Rev Cardiovasc Med. 2020 Dec 30;21(4):517-530. doi:
     10.31083/j.rcm.2020.04.264.               PMID:          33387997       available   at
27   https://pubmed.ncbi.nlm.nih.gov/33387997/.
28                                               5
     __________________________________________________________________________________
         DECLARATION OF PETER A. MCCULLOUGH, MD, MPH
                                     PRELIMINARY INJUNCTION
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 1                             The Hill. I testified on the SARS-CoV-2 outbreak in the U.S.
 2   Senate Committee on Homeland Security and Governmental Affairs on November 19,
 3   2020. I testified on lessons learned from the pandemic response in the Texas Senate
 4   Committee on Health and Human Services on March 10, 2021, and on early treatment of
 5   COVID-19 the Colorado General Assembly on March 31, 2021. Additionally, I testified
 6   in the New Hampshire Senate on legislation concerning the investigational COVID-19
 7   vaccine on April 14, 2020. My expertise on the SARS-CoV-2 infection and COVID-19
 8   syndrome, like that of infectious disease specialists, is approximately 19 months old. I
 9   have formed my opinions based on my direct clinical experience with acute and
10   convalescent COVID-19 cases as well has closely following the preprint and published
11   literature on the outbreak. I have specifically reviewed all the key published rare cases
12   and reports concerning possible recurrence of SARS-CoV-2.
13         Opinion
14         13.   It is my opinion that SARS-CoV-2 causes an infection in humans that results
15   in robust, complete, and durable immunity. It is also my opinion that natural immunity
16   is superior to vaccination-induced immunity for the reasons explained below, including
17   because the CDC has recorded greater than 10,000 breakthrough cases in fully vaccinated
18   individuals and other sources have identified over 110,000 breakthrough cases in just 35
19   states.3 I have reviewed the available preprint and published medical literature on the
20   topic and have formed my opinions based on these reports.
21         14.   SARS-CoV-2 is at least 80% homologous to SARS-CoV-1 at the epitopes
22   that would be recognized by host defenses that confer immunity. 4 The major antigen in
23
24   3
        https://www.cdc.gov/vaccines/covid-19/health-departments/breakthrough-cases.html
25   and https://www.bloomberg.com/news/articles/2021-07-30/cdc-scaled-back-hunt-for-
26   breakthrough-cases-just-as-the-delta-variant-grew.
     4
       Xu J, Zhao S, Teng T, et al. Systematic Comparison of Two Animal-to-Human
27
     Transmitted Human Coronaviruses: SARS-CoV-2 and SARS-CoV. Viruses.
28                                         6
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         DECLARATION OF PETER A. MCCULLOUGH, MD, MPH
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 1   SARS-CoV-2 is the nucleocapsid and this has greater than90% homology to SARS-CoV-
 2   1. The immunity to SARS-CoV-1 has been lifelong over the observation period thus far
 3   in humans which is 17 years reflecting the duration of immunity that is likely from SARS-
 4   CoV-2.5
 5         15.    Natural immunity that develops after infection with SARS-CoV-2 is
 6   conferred by antibodies to the nucleocapsid and to the spike protein, as well as T-helper
 7   cells, natural killer cells, B-cells, and innate immunity.6 This robust host defense system
 8   is far more extensive than the limited library of antibodies to the spike protein that are
 9   generated in response to the currently available COVID-19 investigational vaccines
10   which have demonstrated immunity lasting only a few months at this time. This results
11
12
13   2020;12(2):244. Published 2020 Feb 22. doi:10.3390/v12020244 available at
14   https://pubmed.ncbi.nlm.nih.gov/32098422/.
     5
15     Le Bert N, Tan AT, Kunasegaran K, Tham CYL, Hafezi M, Chia A, Chng MHY, Lin
     M, Tan N, Linster M, Chia WN, Chen MI, Wang LF, Ooi EE, Kalimuddin S, Tambyah
16   PA, Low JG, Tan YJ, Bertoletti A. SARS-CoV-2-specific T cell immunity in cases of
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18   https://pubmed.ncbi.nlm.nih.gov/32668444/; Zuo J, Dowell AC, Pearce H, Verma K,
19   Long HM, Begum J, Aiano F, Amin-Chowdhury Z, Hallis B, Stapley L, Borrow R, Linley
     E, Ahmad S, Parker B, Horsley A, Amirthalingam G, Brown K, Ramsay ME, Ladhani S,
20   Moss P. Robust SARS-CoV-2-specific T cell immunity is maintained at 6 months
21   following primary infection. Nat Immunol. 2021 May;22(5):620-626. doi:
     10.1038/s41590-021-00902-8. Epub 2021 Mar 5. PMID: 33674800; PMCID:
22   PMC7610739 available at https://www.nature.com/articles/s41590-021-00902-8.
23   6
        Zuo J, Dowell AC, Pearce H, Verma K, Long HM, Begum J, Aiano F, Amin-
24   Chowdhury Z, Hallis B, Stapley L, Borrow R, Linley E, Ahmad S, Parker B, Horsley A,
     Amirthalingam G, Brown K, Ramsay ME, Ladhani S, Moss P. Robust SARS-CoV-2-
25   specific T cell immunity is maintained at 6 months following primary infection. Nat
26   Immunol. 2021 May;22(5):620-626. doi: 10.1038/s41590-021-00902-8. Epub 2021 Mar
     5.      PMID:       33674800;       PMCID:       PMC7610739        available     at
27   https://www.nature.com/articles/s41590-021-00902-8.
28                                             7
     __________________________________________________________________________________
         DECLARATION OF PETER A. MCCULLOUGH, MD, MPH
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 1   in more protective immunity for those who have had a natural infection as compared to
 2   those who have been vaccinated.
 3         16.    After natural SARS-CoV-2 infection, even in cases where antibody
 4
 5   assays, there is scientific evidence that cellular based immunity is present. 7 Thus, there
 6   is ample evidence to suggest the clinical infection alone, without either antibody or
 7   cellular based testing afterwards, is sufficient to identify an individual who is no longer
 8   susceptible to COVID-19.8 Specifically, in such an individual, there is no evidence that
 9   SARS-CoV-2 can be acquired, carried, or transmitted to another individual.
10         17.    Despite the endless search by the media to find cases of severe reinfection,
11   they have failed to find it. To my knowledge, there has never been a verified second case
12   beyond 90 days with similar or worse cardinal symptoms and confirmatory
13   PCR/Antigen/Sequencing test in a case where the patient already had a well-documented
14   first case with acute illness. Most database studies that attempt to quantify reinfection
15   are not sufficiently reliable to declare recurrent cases and usually contain a false positive
16   PCR test on one or more occasions. Even when using poorly defined first or second
17
18   7
       Schwarzkopf S, Krawczyk A, Knop D, Klump H, Heinold A, Heinemann FM,
19   Thümmler L, Temme C, Breyer M, Witzke O, Dittmer U, Lenz V, Horn PA, Lindemann
     M. Cellular Immunity in COVID-19 Convalescents with PCR-Confirmed Infection but
20   with Undetectable SARS-CoV-2-Specific IgG. Emerg Infect Dis. 2021 Jan;27(1). doi:
21   10.3201/2701.203772. Epub 2020 Oct 15. PMID: 33058753 available at
     https://pubmed.ncbi.nlm.nih.gov/33058753/.
22   8
       Schulien I, Kemming J, Oberhardt V, Wild K, Seidel LM, Killmer S, Sagar, Daul F,
23   Salvat Lago M, Decker A, Luxenburger H, Binder B, Bettinger D, Sogukpinar O, Rieg
24   S, Panning M, Huzly D, Schwemmle M, Kochs G, Waller CF, Nieters A, Duerschmied
     D, Emmerich F, Mei HE, Schulz AR, Llewellyn-Lacey S, Price DA, Boettler T, Bengsch
25   B, Thimme R, Hofmann M, Neumann-Haefelin C. Characterization of pre-existing and
26   induced SARS-CoV-2-specific CD8+ T cells. Nat Med. 2021 Jan;27(1):78-85. doi:
     10.1038/s41591-020-01143-2. Epub 2020 Nov 12. PMID: 33184509 available at
27   https://pubmed.ncbi.nlm.nih.gov/33184509/.
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     __________________________________________________________________________________
         DECLARATION OF PETER A. MCCULLOUGH, MD, MPH
                                     PRELIMINARY INJUNCTION
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 1   suspected cases, Murchu, et al. found the rate of recurrences was negligible over the
 2   longer term in 615,777 patients over 11 studies. 9
 3           18.   Vaccinating the previously infected is also not without risk. Mathioudakis,
 4   et al. reported that in 2002 patients who underwent vaccination with either mRNA-based,
 5   or vector-based COVID-19 vaccines, COVID-recovered patients who were needlessly
 6   vaccinated had higher rates of vaccine reactions. 10
 7           19.   Natural immunity is durable complete and robust in the case where a patient
 8   has a well-defined illness with the characteristic signs and symptoms of acute COVID-
 9   19 and the diagnosis is confirmed by nasal/oral PCR, nasal/oral antigen, or sequencing
10   tests that are FDA cleared as diagnostic aids for COVID-19 illness. In less well
11   characterized cases where there is suspected COVID-19 or asymptomatic individuals and
12   positive serologies for SARS-CoV-2, then the risk of COVID-19 is negligible. Thus,
13   prior COVID-19 illness has no opportunity for benefit with indiscriminate vaccination. 11
14           20.   In sum, it is my opinion that SARS-CoV-2 causes an infection in humans
15   that results in robust, complete, and durable immunity, and is superior to vaccine
16   immunity.      There are also studies demonstrating harm to vaccinating individuals
17   previously infected with SARS-CoV-2. Thus, it is my opinion that the COVID-19
18   vaccination is contraindicated in COVID-19 survivors.
19
20
21
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23
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25   9
         https://pubmed.ncbi.nlm.nih.gov/34043841/.
26   10
          https://www.medrxiv.org/content/10.1101/2021.02.26.21252096v1.
27   11
          https://pubmed.ncbi.nlm.nih.gov/34043841/.
28                                              9
     __________________________________________________________________________________
           DECLARATION OF PETER A. MCCULLOUGH, MD, MPH
                                       PRELIMINARY INJUNCTION
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 1   I declare under penalty of perjury under the laws of the United States of America that the
 2
     foregoing is true and correct this ______
                                         13th  day of August, 2021, at _______________,
                                                                        Dallas
 3
     _________________.
      Texas
 4
 5
 6
 7                                   _________________________________
                                          Peter A. McCullough, MD, MPH
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        DECLARATION OF PETER A. MCCULLOUGH, MD, MPH IN SUPPORT OF PLAINTIFF’S MOTION FOR
                                    PRELIMINARY INJUNCTION
Case 8:21-cv-01367-JVS-KES
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                         Exhibit A


                                   Exhibit A 011
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                                       Friday, August 6, 2021
                                        CURRICULUM VITAE


           PETER A. McCULLOUGH, MD, MPH, FACP, FACC, FCCP, FAHA, FNKF, FNLA, FCRSA

       Business
                             Baylor University Medical Center
                             Worth Street Tower
                             3409 Worth Street, #500
                             Dallas TX 75246
                             Desk: 214-841-2000
                             Cell: 248-444-6905
                             e-mail: PeterAMcCullough@gmail.com

       Home                  5231 Richard Avenue
                             Dallas, TX 75206

       Birth date            December 29, 1962
       Birthplace            Buffalo, NY, USA


  EDUCATION

     1) Certificate of Graduate Liberal Arts Studies: Southern Methodist University, December 17,
        2016, principal faculty Dr. Anthony Picchioni, PhD, Adjunct Professor in Human
        Development, P.O. Box 750181, Dallas, TX 75275, 214-768-3417, www.smu.edu
            Graduated with Honor

     2) Master of Public Health: University of Michigan School of Public Health, August 19, 1994,
        Dean Noreen M. Clark, PhD, 109 Observatory Street, Ann Arbor, MI 48109-2029, phone
        734-764-5454, www.sph.umich.edu
            Major: General Epidemiology

     3) Doctor of Medicine: University of Texas Southwestern Medical School, June 4, 1988, Dean
        Bryan M. Williams, MD, 5323 Harry Hines Boulevard, Dallas, TX 75235-9070, 214-648-3111,
        http://www.utsouthwestern.edu/education/medical-school/
            Clinical year rank of 1 in 199, overall rank in class of 12 in 199
            Alpha Omega Alpha Texas Gamma Chapter, installed March 17, 1988

     4) Bachelor of Science: Baylor University, May 18, 1984, Chancellor Abner McCall, PhD, Office
        of the Registrar, Waco, TX 76798-7056, 254-710-1181, http://www.baylor.edu/
            Double-major: Biology and Psychology
            Graduated with Honor, degree rank of 29 in 131, university rank of 127 in 1,152

                                         Exhibit A 012
Case 8:21-cv-01367-JVS-KES
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                                    Peter A. McCullough, M.D., M.P.H.

            Alpha Lambda Delta Freshman Honorary, installed March 19, 1981

  POSTGRADUATE TRAINING

     1) Cardiovascular Diseases Fellowship: William Beaumont Hospital (WBH) (presently Oakland
        University William Beaumont School of Medicine), Division of Cardiology, 3601 W. Thirteen
        Mile Rd, Royal Oak, MI 48073, 248-551-4198, 7-1-94 to 6-30-97, Chief Cardiovascular
        Fellow for 1996-97, William W. O’Neill, MD, Program Director and Division Chief

     2) Internal Medicine Residency: University of Washington School of Medicine, Department of
        Internal Medicine, 1959 NE Pacific, Seattle, WA 98195, (206) 543-3239, 3-year traditional
        track, 7-1-88 to 6-30-91, James F. Wallace, MD, Program Director, Paul G. Ramsey, MD,
        Chairman of Medicine

  PROFESSIONAL EXPERIENCE

     HeartPlace Baylor Dallas Campus, Texas A & M University College of Medicine, Baylor Dallas
     Campus, 3409 Worth Street, Suite 500, Dallas TX 75246, March 1, 2021 to present.

     Positions Held:   1) Professor of Medicine, Texas Christian University and the University of
                       North Texas Health Sciences Center School of Medicine
                       3)Attending Physician

     Baylor Scott and White Health, Baylor Health Care System, Baylor University Medical Center
     (BUMC), Baylor Heart and Vascular Institute, Baylor Jack and Jane Hamilton Heart and Vascular
     Hospital, Dallas TX, Texas A & M University College of Medicine, Department of Medicine,
     Division of Cardiology, Baylor Heart and Vascular Institute, 621 N. Hall St., #H030, Dallas, TX
     75226, February 3, 2014 to February 25, 2021. Cardiovascular Governance Council, Kevin
     Wheelan, MD, Cardiology Division Chief and Chief Medical Officer, Heart Institute Office (214)
     820-7500

     Positions Held:   1) Professor in the Principal Faculty, Non-Tenure Track in the Department of
                       Internal Medicine, Texas A & M University Health Sciences Center
                       2) Chief of Cardiovascular Research
                       3) Program Director, BUMC Cardiovascular Diseases Fellowship Program
                       4) Vice Chief, BUMC Internal Medicine

     St. John Providence Health System, Providence Park Heart Institute, Department of Medicine,
     Cardiology Section, 47601 Grand River Avenue, Suite B-125, Novi, MI 48374, September 1,
     2010 to July 19, 2013. Department of Medicine Chair, Anibal Drelichman, MD: 248-849-3152,
     Cardiology Section Chief: Shukri David, MD, 248-465-5955

     Positions Held:   1) Chief Academic and Scientific Officer (Academic Dean Equivalent), St. John
                       Providence Health System, (2010 to 2013)
                                                                                                       2


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                       2) Medical Director, Clinical Lipidology, Department of Medicine, Cardiology
                       Section (2010 to 2013)

     William Beaumont Hospital, Department of Internal Medicine, Divisions of Nutrition and
     Preventive Medicine, Department of Cardiology, 3601 West Thirteen Mile Road, Royal Oak, MI
     48073, October 1, 2002 to 2010. Department of Medicine Chair: Michael A. Maddens, M.D.,
     248-551-0622, Department of Cardiology Chair: David E. Haines, M.D., 248-858-0404

     Oakland University William Beaumont School of Medicine, 472 O'Dowd Hall
     2200 N. Squirrel, Rochester, MI 48309, Robert Folberg, MD, Medical School Dean, Kenneth
     Hightower, PhD, Dean of Allied Health Sciences, 248-370-3562. Clinical Professor of Health
     Sciences and Medicine (2007 to 2010)

     Positions Held:   1) Consultant Cardiologist and Chief, Division of Nutrition and Preventive
                          Medicine (2002 to 2010), Department of Internal Medicine
                       2) Medical Director, Preventive Cardiology (2002 to 2010)
                       3) Medical Director, Lipid Apheresis Program (2007 to 2010)
                       4) Medical Director, Weight Control Center (2002-2005)

     University of Missouri-Kansas City (UMKC) School of Medicine, Truman Medical Center,
     Department of Medicine, Cardiology Section, 2301 Holmes St., Kansas City, MO 64108. August
     18, 2000-September 30, 2002. Department of Medicine Chair: George R. Reisz, M.D, 816-556-
     3450

     Positions Held: 1) Associate Professor of Medicine (Tenure Track) and Cardiology Section
                  Chief

     Henry Ford Health System (HFHS), Henry Ford Heart and Vascular Institute, 2799 W. Grand
     Blvd., K-14, Detroit, MI 48202, July 1, 1997 to August 16, 2000. Cardiovascular Division Head:
     W. Douglas Weaver, M.D, 800-653-6568

     Positions Held:   1) Assistant Professor of Medicine (Tenure Track), Case Western Reserve
                       University School of Medicine, and HFHVI Senior Staff Cardiologist
                       Medical Director, Preventive Cardiology, 1999-2000
                       2) Program Director, Cardiovascular Diseases Fellowship Training Program,
                       1999-2000
                       3) Director of Cardiovascular Informatics Section, 1997-2000
                       4) Associate Director of the Center for Clinical Effectiveness, 1997-99
                       5) Associate Director of the Cardiovascular Diseases Fellowship Program,
                       1998-99

     Emergency Physicians Medical Group, PC, 2000 Green Road, Suite 300, Ann Arbor, MI 48105,
     800-466-3764. Emergency medicine attending at Mission Health McPherson Hospital, Howell,


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                                    Peter A. McCullough, M.D., M.P.H.

     1991-1997; Oakwood Beyer Hospital Center, Ypsilanti 1991-1997, and Mercy Hospital, Grayling
     1991-1992

     Positions Held:   1) Associate Member
                       2) Washtenaw County Human Services Deputy Medical Examiner, 1995-1996

     Mercy Internal Medicine Associates, 308 Michigan Avenue, Grayling, MI 49738, Mercy
     Hospital-Grayling, 1100 Michigan Avenue, Grayling, MI 49738, 517-348-5461. Internal
     medicine attending at Mercy Hospital, Grayling, MI, 1991-1992

     Positions Held:   1) Coronary Care Unit Director
                       2) Physician Director of Cardiopulmonary Services

  SPECIAL TRAINING

     1) The Healthcare Forum Cardiovascular Health Fellowship, 1998-99
     2) American Heart Association (AHA), 23rd 10-Day U.S. Seminar on the Epidemiology and
         Prevention of Cardiovascular Disease, July-August, 1997
     3) University of Michigan Summer Session in Epidemiology, 1997-99
     4) Stanford University Course on Medical Informatics, Palo Alto, CA, June, 1997
     5) Current Practice of Vascular Ultrasound 3-Day Course, Chicago, IL, April, 1997
     6) Advanced Pacemaker Concepts Course, CPI, Inc., Lansing, MI, 1995
     7) Pacesetter Comprehensive Pacemaker 4-Day Course, Santa Fe, NM, 1997
     8) Medtronic Bakken Education Tutorial and Medtronic Applied Physiological Research
         Laboratory Lead Implantation Training and Biventricular Implantation Training (2 sessions),
         Minneapolis, MN, 2001-2002
     9) 2004 ASCeXAM Review Course, American Society of Echocardiography, San Francisco, CA,
         April 22-24, 2004
     10) National Lipid Association Masters Course in Clinical Lipidology, Hilton Head, SC, August 21-
         23, 2008

  CERTIFICATION AND LICENSURE

     1) Licensed in the State of Washington 1988-1997 (#MD00027562), Michigan expires January
        31, 2022 (#4301058147), and New York 1992 to present (#189283 inactive status), Missouri
        2000-2002 (#2000165365 inactive status) and Texas expires May 31, 2022 (#P9222)
     2) FLEX passed April 4, 1990, State of Washington, Department of Health, Board of Medical
        Examiners
     3) Diplomate, American Board of Internal Medicine, Candidate #136084, September, 25, 1991,
        recertified May 1, 2001, recertified June 10, 2011, recertified April 6, 2021, valid through
        2031, 510 Walnut Street, Suite 1700, Philadelphia, PA 19106-3699
     4) Diplomate, American Board of Internal Medicine, Cardiovascular Diseases Subspecialty,
        Candidate #136084, November, 1997, valid through 2007, recertified October 1, 2007, valid


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        through 2017, recertified September 28, 2017, valid through 2027, 510 Walnut Street, Suite
        1700, Philadelphia, PA 19106-3699
     5) Diplomate, American Board of Clinical Lipidology, September 27, 2008, 6816 Southpoint
        Parkway, Suite 1000, Jacksonville, FL 32216. Fellow, National Lipid Association
     6) National Board of Echocardiography (NBE), Examination of Special Competence in Adult
        Echocardiography, 2004-2014 expired
     7) Diplomate, American Board of Forensic Examiners, July 16, 1996, no expiration date

  RECOGNITION

     Teaching:
    1. Henry Ford Hospital, 1999 Chief Medical Resident's Best Teacher Award

     Research:
    1. Chest Foundation Young Investigator Award 2001, Philadelphia, PA, November 7, 2001,
       President’s International Awards Ceremony

    2. National Kidney Foundation (NKF) of Michigan, Innovations in Health Care Award Finalist
       2008, East Lansing, MI, April 17, 2008

    3. American College of Cardiology (ACC) Simon Dack Award for Scholarly Excellence by the
       Journal of the American College of Cardiology, March 5, 2009

    4. 11th International Vicenza Award in Critical Care Nephrology, International Renal Research
       Institute, Vicenza, Italy, June 11, 2013

     Postgraduate:
    1. Founding Fellow, Cardiorenal Society of America, March 2016
    2. Fellow, National Lipid Association, January, 2013
    3. Fellow, National Kidney Foundation, January, 2012
    4. Fellow, American College of Chest Physicians, February, 2001
    5. Fellow, American College of Physicians, January, 2001
    6. Fellow, American College of Cardiology, February, 1999

  AFFILIATIONS

     1)   Alpha Omega Alpha, National Honor Medical Society, 1988 to present
     2)   American College of Emergency Physicians, Member, 1992-1994
     3)   American College of Forensic Examiners, Member 1996 to present
     4)   AHA, Council on Epidemiology and Prevention, 1995 to present
     5)   AHA, Grassroots Network, 1998-2000.
     6)   Central Society for Clinical Research, Member, 1999-2000
     7)   Council on Geriatric Cardiology, Member 1996-1997
     8)   Michigan Chapter of the ACC, Chair, Annual Cardiology Board Review, 1999-2000
                                                                                                    5


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     9) Michigan State Medical Society, Member, 1997-2000, 2004 to 2009
     10) The American Medical Informatics Association, 1997-2000
     11) The Health Forum, Charter Cardiovascular Health Charter Alumni Representative, 1998 to
         2002
     12) Cardiorenal Society of America, Founding Executive Board Member, 2013 to present, Vice
         President 2014-2016, President 2016 to present
     13) Dallas County Medical Society, 2014 to present
     14) Texas Medical Association, 2014 to present
     15) Baylor Alumni Association, 2015 to present
     16) New York Academy of Sciences, 2016 to present
     17) Truth for Health Foundation, Founding Executive Board Member, Chief Medical Advisor,
         2021 to present

  EDITORIAL RESPONSIBILITIES

     1) Advances in Chronic Kidney Disease, Editorial Board Member, 2003-present. [referenced
         through Elsevier Bibliographic Database, EMBASE/Excerpta Medica, MEDLINE]
     2) American Journal of Cardiology, Associate Editor, 2014 to present
     3) American Journal of Kidney Disease, [referenced through Elsevier Bibliographic Database,
         EMBASE/Excerpta Medica, MEDLINE] Associate Editor, 2006 to 2019, Guest Editor, 2011,
         2012
     4) Arquivos Brasileiros de Cardiologia, International Editorial Board, 2006 to present
     5) Biocritique, Editorial Board, 2001 to 2013, www.biocritique.com
     6) Blood Purification, Editorial Board 2018 to present
     7) Cardiovascular Clinician, Editorial Board, 2011 to 2013, internet site,
         CARDIOVASCULARClinician.com™
     8) Cardiovascular Diagnosis and Therapy (CDT), Editorial Board (Print ISSN: 2223-3652; Online
         ISSN: 2223-3660, 2012 to present
     9) Cardiovascular Innovations and Applications (CVIA), Editorial Board 2015 to present
     10) Cardiorenal Medicine, Associate Editor, 2016-2017, Editor-in-Chief 2018 to present
     11) Circulation, Editorial Board, 2016 to present
     12) Circulation Heart Failure, Editorial Board, 2008 to present, Associate Editor, 2008 to 2016,
         Guest Editor 2010, 2011, 2012
     13) Clinical Exercise Physiology, Clinical Consultant to the Editorial Board, 1998-2002.
     14) Cochrane Renal Group Module, 2008, Editorial Contributor, Centre for Kidney Research, The
         Children’s Hospital at Westmead, Westmead NSW, Australia
     15) Expert Review of Cardiovascular Therapy, Editorial Advisory Panel, 2002 to present,
     www.future-drugs.com
     16) Journal of the American College of Cardiology, Editorial Consultant, 2003-present. “Elite
     Reviewer” Recognition, 2004, 2005, 2006, 2007, 2008, 2011, 2014, 2016 (DeMaria AN. The elite
     reviewer. J Am Coll Cardiol 2003;41(1):157-8.)
     17) Journal of Geriatric Cardiology, Editorial Board Member, 2003-present. The Institute of
         Geriatric Cardiology, Chinese PLA Hospital, Beijing. [Joint China-U.S.A. publication]


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                                         Exhibit A 017
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                                   Peter A. McCullough, M.D., M.P.H.

     18) Journal of Biorepository Science for Applied Medicine, Honorary Editorial Board, 2012 to
         2018
     19) Journal of Clinical & Experimental Cardiology, OMICS Publishing Group, Open Access,
         CrossRef, PubMed, DOAJ, Index Copernicus, Scientific Commons, EBSCO, 2010 to 2017
     20) Journal of Diabetes & Metabolism, OMICS Publishing Group, Open Access, 2010 to 2017
     21) Journal of Interventional Cardiology, “News and Views”, Section Editor, 2000-2003.
         Editorial Board Member, 2003 to present
     22) Journal of Nephrology and Therapeutics, Editorial Board, OMICS Publishing Group, Editorial
         Board, 2010 to 2017
     23) Reviews in Cardiovascular Medicine, MedReviews, LLC, www.medreviews.com “Cardiorenal
         Function,” Section Editor, 2001-2002, Associate Editor, 2003-2009, Co-Editor, 2009 to
         present
     24) The American College of Cardiology Foundation ACCEL Audio Journal, Editorial Board 2008
         to present
     25) The Open Atherosclerosis & Thrombosis Journal, [referenced through Bentham Open,
         PubMed, Google and Google Scholar] Editorial Board, 2008 to 2012
     26) The Open Heart Failure Journal, [referenced through Bentham Open, PubMed, Google and
         Google Scholar] Editorial Board, 2008 to 2010
     27) Therapy, [referenced through Elsevier Bibliographic Database, EMBASE/Excerpta Medica,
         MEDLINE], Editorial Board, 2008 to 2010

     Manuscript Reviewer

     1) Advances in Chronic Kidney Disease, 2004 to present (18)
     2) Advances in Medical Sciences, 2012 to present (2)
     3) Advances in Therapy, 2008 to present (1).
     4) American Family Physician, 2004 to present (2)
     5) American Journal of Cardiovascular Drugs, 2002 to present. (2)
     6) American Heart Journal (AHJ), 1998 to present (22)
     7) American Journal of Cardiology (AJC), 1999 to present (60)
     8) American Journal of Human Biology, 2014 to present (1)
     9) American Journal of Hypertension, 2011 to present (1)
     10) American Journal of Kidney Diseases (AJKD), 2002 to present (30)
     11) American Journal of Medicine (AJM), 1997 to present (7)
     12) American Journal of the Medical Sciences (AJMS), 2006 to present (3)
     13) American Journal of Nephrology, 2004 to present (24)
     14) American Journal of Physiology: Renal Physiology, 2006 to present (2)
     15) American Journal of Transplantation, 2004 to present (1)
     16) Annals of Epidemiology, 2004 to present (1)
     17) Annals of Internal Medicine, 2008 to present (3)
     18) Annals of Noninvasive Electrocardiology, 2009 to present (1)
     19) Antimicrobial Agents and Chemotherapy, 2020 to present (1)
     20) Archives of Internal Medicine, 2004 to present (2)
     21) Archives of Pathology and Laboratory Medicine, 2007 to present (1)
                                                                                                  7


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     22) Arteriosclerosis, Thrombosis, and Vascular Biology, 2010 to present (2)
     23) Autonomic Neuroscience: Basic and Clinical, 2007 to present (1)
     24) BUMC Proceedings, 2012 to present (3)
     25) Biochemia Medica, 2012 to present (1)
     26) Biomed Central (BMC) Medical Imaging, 2010 to present (1)
     27) Blood Purification, 2010 to present (2)
     28) BMC Medicine, 2007 to present (1)
     29) BMC Nephrology, 2011 to present (1)
     30) BMJ Clinical Evidence, 2008 to present (1)
     31) British Medical Journal (BMJ), 2009 to present (1)
     32) Canadian Medical Association Journal (CMAJ), 2006 to present (3)
     33) Cardiac Failure Review, 2015 to present (1)
     34) Cardiology, 2007 to present (1)
     35) Cardiorenal Medicine; 2013 to present (10)
     36) Cardiovascular Innovations and Applications, 2016 to present (1)
     37) Cardiovascular Therapeutics, 2010 to present (1)
     38) Catheterization and Cardiovascular Interventions, 2000 to present (6)
     39) Chest, 2000 to present (6)
     40) Circulation, 1998 to present (100)
     41) Circulation Cardiovascular Interventions, 2012 to present (1)
     42) Circulation Cardiovascular Quality and Outcomes, 2010 to present (1)
     43) Circulation Heart Failure, 2009 to present (4)
     44) Circulation Imaging, 2012 to present (1)
     45) Cleveland Clinic Journal of Medicine, 2008 to present (1)
     46) Clinica Chimica Acta, 2013 (1)
     47) Clinical Cardiology, 2001 (3)
     48) Clinical Chemistry and Laboratory Medicine, 2010 to present (2)
     49) Clinical Exercise Physiology, 2000-2002 (4)
     50) Clinical Journal of the American Society of Nephrology 2008 to present (3)
     51) Clinical Kidney Journal, 2012 to present (1)
     52) Clinical Medicine and Research, 2008 to present (1)
     53) Clinical Nephrology, 2008 to present (2)
     54) Clinical Physiology and Functional Imaging, 2010 to present (1)
     55) Clinical Researcher, 2002 to present (1)
     56) Clinics, 2010 to present (1)
     57) Cochrane Collaboration,2009 to present (2)
     58) Congestive Heart Failure, 2005 to present (4)
     59) Coronary Artery Disease, 2005 to present (1)
     60) Critical Care Medicine, 2008 to present (2)
     61) Current Medical Research and Opinion, 2005 to present (1)
     62) Diabetes Care, 2011 to present (2)
     63) Diabetes and Vascular Disease Research, 2011 to present (1)
     64) Diabetes, Obesity, and Metabolism, 2019 to present (1)
     65) Diabetic Medicine, 2008 to present (1)
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     66) Drug Benefit Trends, 1999 (1)
     67) Drugs, 2000 (2)
     68) European Heart Journal, 1995 (12)
     69) European Journal of Cardiovascular Prevention and Rehabilitation, 2006 (1)
     70) European Journal of Heart Failure, 2012 (4)
     71) Expert Opinion on Pharmacotherapy, 2003 to present (3)
     72) Expert Opinion Therapeutic Patents, 2004 to present (1)
     73) Expert Review of Cardiovascular Therapy, 2008 to present (2)
     74) Global Heart, 2012 (1)
     75) Heart, 2004 (2)
     76) Heart and Vessels, 2007 (2)
     77) Hemodialysis International 2013 (2)
     78) Internal Medicine Journal (Australasia), 2009 to present (1)

     79) International Journal of Infectious Diseases 2020 to present (2)
     80) International Journal of Nephrology, 2010 to present (2)
     81) Journal of Biomarkers, 2013 (1)
     82) Journal of Geriatric Cardiology, 2017 (1)
     83) International Journal of Infectious Diseases, 2021 to present (3)
     84) Journal of Internal Medicine, 2009 to present (1)
     85) Journal of Interventional Cardiology (JIC), 1996 to present (9)
     86) Journal of the American College of Cardiology (JACC), 1998 to present (228)
     87) Journal of the American College of Cardiology: Heart Failure (JACC Heart Fail), 2014 to
         present (12)
     88) Journal of the American College of Cardiology: Imaging (JACC Imag), 2014 to present (6)
     89) Journal of the American College of Cardiology: Interventions (JACC Interv), 2010 to present
         (10)
     90) Journal of the American Medical Association (JAMA), 2002 to present (60)
     91) Journal of the American Medical Association Cardiology (JAMA Cardiology), 2016 to present
         (20)
     92) Journal of the American Society of Echocardiography (JASE), 2009 to present (1)
     93) Journal of the American Society of Nephrology (JASN) 2005 to present (14)
     94) Journal of Cardiac Failure, 2003 to present (10)
     95) Journal of Clinical Outcomes Management, 2011 to present (1)
     96) Journal of Critical Care, 2011, to present (1)
     97) Journal of General Internal Medicine, 2008 to present (1)
     98) Journal of Human Hypertension, 2010 to present (1)
     99) Journal of Inherited Metabolic Disease, 2014 to present (2)
     100)       Journal of Lipid Research, 2010 to present (1)
     101)       Journal of Managed Care, 2004 to present (1)
     102)       Journal of Physiology and Pathophysiology, 2009 to present (1)
     103)       Kidney and High Blood Pressure Research, 2008 to present (1)
     104)       Kidney International, 2004 to present (8)
     105)       Medical Science Monitor, 2008 to present (1)
                                                                                                   9


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     106)     Medicine & Science in Sports and Exercise, 2005 to present (3)
     107)     Nature Clinical Practice Cardiovascular Medicine, 2004 to present (4)
     108)     Nature Clinical Practice Nephrology, 2008 to present (1)
     109)     Nature Reviews Nephrology, 2009 to present (3)
     110)     Nephron, 2005 to present (1)
     111)     Nephrology, 2009 to present (1)
     112)     Nephrology, Dialysis, and Transplantation, 2005 to present (7)
     113)     New England Journal of Medicine, 2006 to present (8)
     114)     Pharmacological Research (Italy), 1999 (1)
     115)     Pharmaceutical Sciences, 2011 (1)
     116)     PLoS Medicine, 2005 (1)
     117)     PLOS ONE, 2013 (1)
     118)     Prehospital Emergency Care, 2015 (1)
     119)     Preventive Medicine, 2008 (1)
     120)     Rejuvenation Research, 2007 (1)
     121)     Renal Failure, 2011 (2)
     122)     The Lancet, 1999 to present (11)
     123)     The Lancet Diabetes, 2013 to present (5)
     124)     The Lancet Global Health, 2015 to present (2)

     Major Meeting Abstract Grader

    1) ACC Scientific Sessions 2001 to present (10)
    2) ACC I2 Summit, 2006 to present (2)
    3) American Diabetes Association, 2008 to present (13)
    4) AHA Scientific Sessions, 1997 to present (8)
    5) American Medical Informatics Association, Annual Symposium, 1998-2001 (3)
    6) International Academy of Cardiology World Congress on Heart Disease, Academy of
       Cardiology Annual Scientific Sessions—Mechanisms and Management, 2002-present (3)
    7) Transcatheter Therapeutics (TCT), 2004 (1)

    Grant Reviewer

    1. National Medical Research Council, Singapore, 2003-2004
    2. National Institutes of Health, National Institute of Diabetes and Digestive and Kidney
       Diseases, Special Emphasis Panel/Initial Review Group 2006/01 ZDK1 GRB-9, 2005
    3. National Institutes of Health, National Institute of Diabetes and Digestive and Kidney
       Diseases, Special Emphasis Review Group, 1 R01 DK070033-01A2, 2006
    4. National Institutes of Health, National Heart Lung and Blood Institute, Study Section, ZHL1
       CSR-H (M1), March 6-7, 2006, Heart Failure Network
    5. Diabetes UK, The British Diabetic Association, Macleod House, 10 Parkway, London NW1
       7AA. December 24, 2008
    6. National Institutes of Health National Institute of Diabetes and Digestive and Kidney
       Diseases, Special Review Panel, Chronic Renal Insufficiency Cohort Study (CRIC) and A
                                                                                                10


                                        Exhibit A 021
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        Prospective Cohort Study of Kidney Disease in Children (CKiD) Study, February 23-25, 2012,
        March 6, 2013
    7. National Institutes of Health National Institute of Diabetes and Digestive and Kidney
        Diseases, Special Review Panel, ZDK1 GRB-7 (O3)S in response to PAR-DK-09-247: Ancillary
        Studies to Major Ongoing Clinical Research Studies to Advance Areas of Scientific Interest
        within the Mission of the NIDDK (R01), July 11, 2012
    8. Alberta Innovates Health Solutions Collaborative Research & Innovation Opportunities
        (CRIO) Grant Review, September, 2012
    9. Health Research Board of Ireland, Health Research Awards, 2013
    10. National Institutes of Health National Institute of Diabetes and Digestive and Kidney
        Diseases 2017/01 ZRG1 DKUS-R (55) Study Section 2016


 Guidelines Reviewer

    1. Kidney Disease Improving Global Outcome (KDIGO) Guidelines Review
          a. Prevention, Diagnosis, Evaluation and Treatment of Hepatitis C in Chronic Kidney
              Disease, Published April, 2008
          b. Diagnosis, Evaluation, Prevention and Treatment of Chronic Kidney Disease related
              Mineral and Bone Disorders (CKD-MBD), Published August, 2009
          c. Acute Kidney Injury (AKI), published March, 2012


  CLINICAL TRIAL AND STUDY RESPONSIBILITIES

    Overall Study Responsibilities: Steering and Executive Committees

     1) Study Principal Investigator, Medicine vs Angiography for Thrombolytic Exclusion Patients
        (M.A.T.E.), 1994-1997, (multicenter, U.S., randomized controlled trial [RCT]). Status:
        closed.

     2) Study Principal Investigator, The Resource Utilization Among Congestive Heart Failure Study
        (R.E.A.C.H.), 1998-2000, (single-center, prospective cohort study). Status: closed.

     3) Study Principal Investigator, The Asthma, Beta-Agonists, and Congestive Heart Failure Study,
        (A.B.C.H.F.), 1998-1999, (single-center, case-control study). Status: closed.

     4) Study Co-Principal Investigator, The Prevention of Radiocontrast Induced Nephropathy
        Clinical Evaluation (P.R.I.N.C.E.) Study, 1995-1998, (single-center, RCT). Status: closed.

     5) Study Co-Principal Investigator, BNP Multinational Study, Principal Investigator, Alan Maisel,
        MD, Biosite Diagnostics, Inc., 2000-2006, (multicenter, international, prospective cohort
        study). Status: closed.


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     6) Study Co-Investigator, Prophylactic Oral Amiodarone Compared to Placebo for Prevention
        of Atrial Fibrillation Following Coronary Artery Bypass Graft Surgery (P.A.P.A.C.A.B.G.),
        1996-1998, (single-center, RCT). Status: closed.

     7) Study Co-Investigator, Rapid Early Bedside Markers of Myocardial Injury, 1998-1999, HFHS
        and Biosite Diagnostics, Inc. (prospective cohort study). Status: closed.

     8) Member, Steering Committee, Clinical Study Protocol No. 2000-025: A Phase IIIb,
        Multicenter, Randomized, Double-Blind, Placebo-Controlled Study to Determine the Safety,
        Efficacy, and Tolerability of Fenoldopam Mesylate in Subjects Undergoing Interventional
        Cardiology Procedures (CONTRAST), William W. O’Neill, MD and Gregg Stone, MD, Co-
        Principal Investigators, Abbott Laboratories, Inc., 2000-2003 (multicenter, US, RCT). Status:
        closed.

     9) Chair, National Steering Committee, Kidney Early Evaluation Program (KEEP) NKF, Member
        2000-2005, Co-Chair 2005-2010, Chair 2010-present (multicenter, U.S., prospective cohort
        study). Annual budget ~$1,325,198 (2009), ~$1,233,832 (2010), ~$1,614,953.00 (2011),
        ~$989,500 (2012), ~$1,217,000 (2013). Status: inactive.

     10) Member, Steering Committee, Protocol No. 704.351 Evaluation of Synergy between
         Natrecor and Furosemide on Renal and Neurohormone Responses in Chronic Heart Failure:
         A Phase IV Study, Scios Inc., 2003-2005 (multicenter, U.S., randomized cross-over trial).
         Status: closed.

     11) Member, Steering Committee, Protocol No. CCIB002FUS12. A Multicenter, Double-blind,
         Randomized, Parallel Group Study to Evaluate the Effects of Lotrel and Lotensin HCT on
         Microalbuminuria in Mild to Moderate Hypertensive Subjects with Type 2 Diabetes Mellitus,
         Novartis Pharmaceuticals, Inc., 2003-2006. Status: closed.

     12) Rotating Executive Committee Principal Investigator Member, NIH HF-ACTION Trial (Exercise
         Training Program to Improve Clinical Outcomes in Individuals With Congestive Heart
         Failure), HL63747 01A2, 2006-2009. Principal Investigator, David Whellan, MD, status:
         closed.

     13) Overall Study Principal Investigator, Neutrophil Gelatinase-Associated Lipocalin: A Novel
         Blood Marker for Risk of Developing Contrast Induced Nephropathy (ENCINO), multicenter,
         prospective, blinded cohort study, 2006-2009, status: closed.

     14) Member, Steering Committee, VA NEPHRON-D: Diabetes iN Nephropathy Study, 2008 to
         2013, trial stopped early for safety cardiovascular and acute kidney safety concerns in
         angiotensin converting enzyme inhibitor plus losartan arm, status: closed.




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     15) Member, External Expert Panel, National Institutes of Health, National Institute of Digestive
         and Diabetes and Kidney Diseases, Chronic Renal Insufficiency Cohort Study, status open,
         2010 to present.

     16) Member, Optimal Medical Management Subcommittee, National Institutes of Health,
         National Heart Lung and Blood Institute, International Study of Comparative Health
         Effectiveness with Medical and Invasive Approaches (ISCHEMIA), status: open, 2011 to
         present.

     17) Member, Steering Committee, National Institutes of Health, National Heart Lung and Blood
         Institute, International Study of Comparative Health Effectiveness with Medical and Invasive
         Approaches (ISCHEMIA) in patients with Chronic Kidney Disease (ISCHEMIA-CKD), status:
         open, 2012 to present.

     18) Member, Steering Committee, Thrasos Innovation, Inc, A Phase II Multi-Center, Parallel-
         Group, Randomized, Double Blind, Proof-of-Concept, Adaptive Study Investigating the
         Safety and Efficacy of THR-184 Administered via Intravenous Infusion in Patients at
         Increased Risk of Developing Cardiac Surgery Associated-Acute Kidney Injury (CSA-AKI),
         status: closed, 2012 to 2015.

     19) Overall Principal Investigator, AbbVie, Inc, Clinical Study Protocol M13-796, A Phase 2b,
         Randomized, Double-Blind, Placebo-Controlled, Safety and Efficacy Trial of Multiple Dosing
         Regimens of ABT-719 for the Prevention of Acute Kidney Injury in Subjects Undergoing High
         Risk Cardiac Surgery, status: closed, 2013 to 2014.

     20) Overall Principal Investigator, Bioporto, Inc, The NGAL Test™ As An Aid in the risk
         assessment for AKI stage II and III in an Intensive Care Population, status: open 2017 to
         present.

     21) Member, Global Expert Panel, Novo Nordisk, Inc, A Research Study to See How Semaglutide
         Works Compared to Placebo in People With Type 2 Diabetes and Chronic Kidney Disease
         (FLOW), status: open.

 Overall Study Responsibilities: Endpoint Committees

     1) Member, Critical Endpoints Committee, Treat Angina with Aggrastat and Determine Cost of
        Therapy with an Invasive or Conservative Strategy, TACTICS-TIMI 18 (Protocol 019-00),
        1998-2000, (multicenter, international, RCT). Status: closed

     2) Member, Study Endpoints Committee, A Phase II, Escalation Trial of Vasoflux in Patients
        Undergoing Thrombolysis with Streptokinase for Acute Myocardial Infarction, Protocol CLN-
        P-V18-07001, Parexel International Corporation,1998, (multicenter, international, RCT).
        Status: closed


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     3) Member, Safety Endpoint Evaluation Committee, A Phase III, Single-Blind Controlled Study
        to Evaluate the Clinical Effects of a Hemoglobin-based Oxygen Carrier (HBOC-210) Given as
        a Transfusion Alternative in Patients Undergoing Orthopedic Surgery. (Protocol HEM-0115),
        Biopure Corporation with Quintiles, Inc., Clinical Event and Adjudication Services, 2000-
        2001. (multicenter, international, RCT). Status: closed

     4) Member, Critical Endpoints Committee, Cerivastatin Heart Outcomes in Renal Disease:
        Understanding Survival (C.H.O.R.U.S.), Barry Brenner, MD and William F. Keane, MD, Co-
        Principal Investigators, Bayer Inc., 2000-2003 (multicenter, international, RCT). Status:
        study terminated early due to drug withdrawal from market

     5) Member, Clinical Events Classification Committee, Correction of Hemoglobin and Outcomes
        in Renal Insufficiency (CHOIR), Ajay Singh, MD, Donal Reddan, MBBS, Principal Investigators,
        Ortho Biotech Inc., 2001-2004 (multicenter, international, RCT). Status: closed

     6) Member, Critical Endpoint Committee, A Randomised, Double-blind, Parallel Group, Phase
        3, Efficacy and Safety Study of AZD6140 (Ticagrelor) Compared with Clopidogrel for
        Prevention of Vascular Events in Patients with Non-ST or ST Elevation Acute Coronary
        Syndromes (ACS) [PLATO – A Study of PLATelet inhibition and Patient Outcomes.],
        AstraZeneca, Inc., Duke Clinical Research Institute, 2008, status: closed

     7) Chair, Clinical Endpoints Committee, Alere San Diego, Inc, Alere Prospective Blinded Study
        of a Novel Troponin Assay (PEARL), status: closed 2015

     8) Chair, Adjudication Committee, Myeloperoxidase In the Diagnosis of Acute coronary
        Syndromes (MIDAS) study, Alere, Inc., status: closed 2012

     9) Independent Endpoint Adjudicator, BioPorto Diagnostics, The NGAL test as an aid for the
        Diagnosis of AKI in an Intensive Care Population, Code of the Study: KLIN 12-005, status
        closed, 2015

     10) Independent Endpoint Adjudicator, Ischemix, Inc., Safety and Efficacy of CMX-2043 for
         Protection of the Heart and Kidneys in Subjects Undergoing Coronary Angiography (CARIN),
         status: closed 2016

     11) Chair, Data Adjudication Committee, Estimating versus Measuring Plasma Volume and
         Kidney Function in Acute Decompensated Congestive Heart Failure, Eudra-CT Number 2018-
         002638-18, Sponsor: Charite-Unversitatsmedizin Berlin, FAST Biomedical, Inc, 2018-present

 Overall Study Responsibilities: Data Safety Monitoring Committees

     1) Member, External Advisory Committee/Data Safety Monitoring Board, National Institutes of
        Health, National Institute of Diabetes and Digestive and Kidney Diseases, Polycystic Kidney
        Disease (PKD) Clinical Trials Network HALT-PKD Trial, Robert Schrier, MD, Principal
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        Investigator, Committee Chair: William Henrich, MD, 2004-2008, Data Safety Monitoring
        Board, status: closed 2014

     2) Chairman, Data Safety Monitoring Committee, Clinical Trials Program CS0011-A-U301,
        Daiichi Sankyo Pharma Development (DSPD) CS-011, Seven Core Trials of Rivoglitazone in
        Type 2 Diabetes: 1) A 26-week placebo-controlled trial of 1.0 and 1.5 mg rivoglitazone vs.
        45 mg pioglitazone, as monotherapy in type 2 diabetics (CS0011-A-U301); 2) A 26-week
        placebo-controlled trial of 0.5, 1.0 and 1.5 mg rivoglitazone vs. 15, 30 and 45 mg
        pioglitazone, as monotherapy in type 2 diabetics (CS0011-A-U302); 3) A 26-week placebo-
        controlled trial of 1.0 and 1.5 mg rivoglitazone vs. 45 mg pioglitazone, in type 2 diabetics on
        metformin therapy, followed by a 26-week pioglitazone-controlled continuation period
        (CS0011-A-U303); 4) A 26-week placebo-controlled trial of 0.5 and 1.0 rivoglitazone vs. 30
        mg pioglitazone, in type 2 diabetics on sulfonylureas therapy, followed by a 26-week
        pioglitazone-controlled continuation period (CS0011-A-U304); 5) A 26-week placebo-
        controlled trial of 0.5 and 1.0 mg rivoglitazone vs. 15 mg pioglitazone in type 2 diabetics on
        insulin therapy (CS0011-A-U305); 6) A long-term (12-24 months) randomized, general
        efficacy and safety study of rivoglitazone vs. pioglitazone, as monotherapy or add-on
        therapy, in type 2 diabetics (CS0011-A-U306); 7) A 26-week placebo-controlled trial of
        rivoglitazone and metformin, in type 2 diabetics (CS0011-A-U307), USFDA Special Protocol
        Assessment Agreement granted, status: closed, 2009 trials program terminated

     3) Member, Data Safety Monitoring Committee, A Multicenter, Randomized, Double-Blind,
        Placebo-Controlled Study to Evaluate Cardiovascular Outcomes Following Treatment with
        Alogliptin in Addition to Standard of Care in Subjects with Type 2 Diabetes and Acute
        Coronary Syndrome SYR322_402, EXAMINE Trial Takeda Global Research and Development
        Center, Inc. (US) Takeda Global Research and Development Centre, Ltd. (Europe), status:
        2009 trial stopped early for non-inferiority but futility on superiority outcome

     4) Chair, Data Safety Monitoring Committee, Protocol D9120C00019, A randomised, double-
        blind, placebo controlled, multi-centre phase IIb dose finding study to assess the effect on
        GERD symptoms, safety and tolerability during four weeks treatment with AZD3355 in doses
        60 mg, 120 mg, 180 mg and 240 mg bid as add-on treatment to a PPI in patients with GERD
        that are partial responders to PPI treatment, AstraZeneca, status: closed 2009, trials
        program terminated for safety

     5) Member, Data Safety Monitoring Committee, Protocols: AMAG-FER-IDA-301, A Phase III,
        Randomized, Double-Blind, Placebo-Controlled Trial of Ferumoxytol for the Treatment of
        Iron Deficiency Anemia, Protocol: AMAG-FER-IDA-302, A Phase III, Randomized, Open-Label,
        Active Controlled Trial Comparing Ferumoxytol with Iron Sucrose for the Treatment of Iron
        Deficiency Anemia, Protocol: AMAG-FER-IDA-303, A Phase III, Open-Label Extension, Trial of
        the Safety and Efficacy of Ferumoxytol for the Episodic Treatment of Iron Deficiency
        Anemia, AMAG Pharmaceuticals, Inc., status: closed 2010, trial completed in 2013 without
        safety concerns

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     6) Chair, Independent Data Monitoring Committee, Protocol 402-C-0903 Bardoxolone Methyl
        Evaluation in Patients with Chronic Kidney Disease and Type 2 Diabetes: the Occurrence of
        Renal Events (BEACON), Reata Pharmaceuticals, Inc., status: trial stopped in 2012 early for
        cardiovascular and mortality safety concerns

     7) Member, Independent Safety Council, Affymax Inc and Takeda Pharmaceutical Co.,
        Omontys (peginesatide), status: closed, post-marketing surveillance led to voluntary drug
        withdrawal from market in 2013 for serious and fatal allergic reactions

     8) Chair, Independent Data Monitoring Committee, AbbVie, Inc, Clinical Study Protocol M11-
        352 A Randomized, Multicountry, Multicenter, Double Blind, Parallel, Placebo-Controlled
        Study of the Effects of Atrasentan on Renal Outcomes in Subjects with Type 2 Diabetes and
        Nephropathy SONAR: Study Of Diabetic Nephropathy with Atrasentan, status closed 2018

     9) Chair, Independent Data Monitoring Committee, AbbVie, Inc., Clinical Study Protocol M13-
        958 A Phase 2b, Randomized, Double-Blind, Placebo-Controlled, Safety and Efficacy Trial of
        Multiple Dosing Regimens of ABT-719 for the Prevention of Acute Kidney Injury in Subjects
        Undergoing High Risk Major Surgery, status: closed 2015

     10) Member, Data Monitoring Committee, Akebia Therapeutics, Inc., AKB-6548-CI-0007, Phase
         2b Randomized, Double-Blind, Placebo-Controlled Study to Assess the Pharmacodynamic
         Response, Safety, and Tolerability to 20 Weeks of Oral Dosing of AKB-6548 in Subjects with
         Anemia Secondary to Chronic Kidney Disease (CKD), GFR Categories G3a-G5 (Stages 3, 4,
         and 5) (Pre-Dialysis), status: closed 2015

     11) Member, Study Monitoring Team, Akebia Therapeutics, Inc., AKB-6548-CI-0011, Phase 2a
         Open-Label Study to Assess the Efficacy, Safety, and Tolerability of AKB-6548 in Subjects
         with Anemia Secondary to End Stage Renal Disease (ESRD), Undergoing Chronic
         Hemodialysis, status: closed 2016

     12) Member, Data Monitoring Committee, Merck, Inc., Pfizer, Inc, Clinical Trials Program,
         Ertugliflozin (MK-8835/PF-04971729) Phase 2 and Phase 3 Development Program, status
         closed, 2012 to 2020

     13) Member, Steering Committee, Medtronic, Inc., Monitoring in Dialysis, status: closed 2016

     14) Member, Data Safety and Monitoring Board, St. Jude Medical, EnligHTN IV Multi-center,
         randomized, single-blind, sham controlled clinical investigation of renal denervation for
         uncontrolled hypertension, status: 2013 trial terminated before recruitment started

     15) Chair, Data Safety Monitoring Board, Neumedicines, Inc., A Phase 2, Single-Dose,
         Randomized, Double-Blind, Placebo-Controlled Study to Evaluate the Safety, Tolerability,


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        Pharmacokinetics, and Pharmacodynamics of HemaMax™ (rHuIL-12) in Healthy Subjects,
        status: closed 2016

     16) Chair, Data Safety Monitoring Board, Reata Pharmaceuticals, Inc., A Phase 2 Study of the
         Safety, Efficacy, and Pharmacodynamics of RTA 408 in the Treatment of Friedreich’s Ataxia,
         2014 to 2019, status: closed

     17) Chair, Data Safety Monitoring Board, Reata Pharmaceuticals, Inc., A Phase 2 Study of the
         Safety, Efficacy, and Pharmacodynamics of RTA 408 in the Treatment of Mitochondrial
         Myopathy, 2015 to 2019, status: closed

     18) Member, Patient Safety Review Committee, Reata Pharmaceuticals, Inc, A dose-ranging
         study of the efficacy and safety of Bardoxolone Methyl in patients with pulmonary arterial
         hypertension (402-C-1302), 2014 to 2018, status: closed

     19) Chair, Data Safety Monitoring Board, Reata Pharmaceuticals, Inc., A Study of the Efficacy
         and Safety of Bardoxolone Methyl in Patients with Connective Tissue Disease-Associated
         Pulmonary Arterial Hypertension (CATALYST), 2016 to present, status: closed

     20) Chair, Data Safety Monitoring Board, Reata Pharmaceuticals, Inc., A Phase 2/3 of Efficacy
         and Safety of Bardoxolone Methyl in Patients with Alport Syndrome (CARDINAL), 2017 to
         present, status: closed

     21) Chair, Data Safety Monitoring Board, Sanfit, Inc., A double-blind, randomised, placebo-
         controlled study to assess the effect of SNF472 on progression of cardiovascular
         calcification on top of standard of care in end-stage-renal-disease (ESRD) patients on
         haemodialysis (HD) SNFCT2015-05, 2017 to 2019, status: closed

     22) Chair, Data Monitoring Committee, Renew Research, KAI Research, A Randomized Pivotal
         Study of RenewTM NCP-5 for the Treatment of Mild Cognitive Impairment due to
         Alzheimer’s Disease or Mild Dementia of the Alzheimer’s Type, 2018 to present, status:
         closed

     23) Chair, Data Safety Monitoring Committee, Sanofi, Inc, Multicenter, randomized, double-
         blind, placebo-controlled two stage study to characterize the efficacy, safety, tolerability
         and pharmacokinetics of GZ/SAR402671 in patients at risk of rapidly progressive Autosomal
         Dominant Polycystic Kidney Disease (ADPKD) STUDY NUMBER: EFC15392 STUDY NAME:
         SAVE-PKD COMPOUND: GZ/SAR402671, 2018 to present, status: open

     24) Chair, Data Safety Monitoring Board, National Institutes of Health, National Heart, Lung and
         Blood Institute R34 NHLBI Clinical Trial Pilot Studies (R34) Reducing Arrhythmia in Dialysis by
         Adjusting the Rx Electrolytes/Ultrafiltration (RADAR), David Charytan, MD, PI, 2019 to
         present, status: open


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     25) Chair, Data Safety Monitoring Board, GZ402671 EFC15392 Multicenter, randomized,
         double-blind, placebo-controlled two stage study to characterize the efficacy, safety,
         tolerability and pharmacokinetics of GZ/SAR402671 in patients at risk of rapidly progressive
         Autosomal Dominant Polycystic Kidney Disease (ADPKD), Sanofi, status: open

     26) Chair, Data Safety Monitoring Board, MEDI3506, Trials Portfolio, D9182C00001 A Phase 2
         Randomized, Double-blinded, Placebo-controlled Study to Evaluate the Efficacy and Safety
         of MEDI3506 in Adult Subjects with Moderate-to-severe Atopic Dermatitis; D9181C00001 A
         Phase II, Randomised, Double-blind, Placebo-controlled Study to Assess the Efficacy and
         Safety of MEDI3506 in Adult Participants with Uncontrolled Moderate-to-severe Asthma;
         D9180C00002 A Phase II, Randomized, Double-blind, Placebo-controlled Study to Assess the
         Efficacy, Safety and Tolerability of MEDI3506 in Participants with Moderate to Severe
         Chronic Obstructive Pulmonary Disease and Chronic Bronchitis (FRONTIER 4); D9183C00001
         A Phase 2b Randomized, Double-blind, Placebo-controlled, Study to Evaluate the Efficacy
         and Safety of MEDI3506 in Subjects with Diabetic Kidney Disease, Axio Inc, A Cytel
         Company, status: open


 GRANT AWARDS

 Original Research Grants

     G1) London JF (PI), Bis KG, Juni JE, Wilke N, DiCarli MF, Shetty AN, McCullough PA, Timmis GC.
         Magnetic Resonance vs. Positron Emission Tomography for the Detection of Myocardial
         Viability. Bracco Diagnostics Inc./SCA&I Grant, $25,000 (WBH RC-453), 1997-98. Additional
         WBH Research Institute Mini-grant, $5,000 (WBH Grant #RC-748). Level of involvement:
         author of the variable definitions, endpoints, and data analysis sections, 0% FTE. Status:
         closed 1998

     G2) McCullough PA (PI), Shah S, Noor H, Marks KR, McCabe KB, Zong L, McCord J, Khoury N,
         Ulcickas-Yood M, Ward RE. Diagnostic Accuracy of an Emergency Department Clinical
         Decision Unit in the Evaluation of Chest Pain. HFHS Small Projects Fund $10,000 (HFHS
         Grant #A30785), 0% FTE. Status: closed 1997

     G3) Keteyian SJ (Co-PI), McCullough PA (Co-PI), Brawner CA, Rosman HS, Stein P, Weaver WD. A
         Prospective Study of Case Identification and Triage of Patients Eligible for Cardiac
         Rehabilitation. Merck & Co., U.S. Human Health, $30,000 (HFHS Grant #E18037), 3% FTE.
         Status: closed 1998

     G4) McCullough PA. Novel Methods for Identifying High-Risk Patients for Subsequent
         Cardiovascular Events. Merck & Co., U.S. Human Health, $20,000 (HFHS Grant #M1060), 0%
         FTE. Status: closed 1998



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     G5)McCullough PA. Cardiovascular Informatics Development Award. Pfizer, Inc., $10,000
        (HFHS Grant #E60022), 0% FTE. Status: closed 1998

     G6) McCullough PA, Yee J, Soman S, Sallach J, Borzak S, Foreback C, Monaghan K, Tisdale JE,
         Bailey E, Bola P, Chase G, Marks KR, Weaver WD. A Prospective Dose-Ranging Trial of Folic
         Acid to Reduce Total Homocyst(e)ine Levels in Patients with End-Stage Renal Disease
         Undergoing Hemodialysis. HFHS Project Development Fund $10,000 (HFHS Grant #A20003),
         0% FTE. Status: closed 1999

     G7) McCullough PA. NuStep Recumbent Cross Trainer Product Development Pilot Study,
         NuStep, Inc., (single center, prospective pilot study), $12,500.00, (WBH Grant #RC- 08-
         94847). Status: closed 2005

     G8) McCullough PA, Secondary Analyses from the PRINCE Trial, (single center data analysis),
         $20,000, PLC Medical, Inc., (WBH #RC 08-94851) Status: closed 2005

     G9) McCullough PA, Sullivan RA. A Systematic Review of Vascular Calcification in Patients with
         Chronic Kidney Disease and End-Stage Renal Disease, 2002-2003, Braintree Labs, Inc.,
         $40,000, 25% FTE (WBH Grant #RC 08-94833) Status: closed 2003

     G10)     Pasas SA, Davies MI, McCullough PA. Determination of Protein-bound Homocysteine
        in Human Plasma using Capillary Electrophoresis with Electrochemical Detection in Patients
        with Chronic Kidney Disease, 2003-2004, AHA Predoctoral Fellowship Program (Pasas),
        $38,000, 15% FTE (UMKC Grant #). Status: closed 2003

     G11)       Collins AC, Gladstone E, Robitscher JW, McCullough PA, Klag M, Narva A, Gilberston
        D for the NKF. Demonstration project: state-based screening for chronic kidney disease.
        Response to CDC-RFA-DP06-004, demonstration project for identifying individuals at high-
        risk for CKD in the US. Centers for Disease Control, $1,199,609, 12% FTE Status: closed
        2007

     G12)     McCullough PA, Principal Investigator. Neutrophil Gelatinase-Associated Lipocalin
        (NGAL): A Novel Blood Marker for Risk of Developing Contrast-Induced Nephropathy
        (ENCINO). Biosite/Inovise, Inc., $229,000.00 (WBH #RC-94862), 0% FTE Status: closed 2009

     G13)     Agrawal V, Barnes M, McCullough PA. Evaluation of CKD awareness in medical
        residents. WBH intramural mini-grant R/C# 98662, $10,000.00, 0% FTE Status: closed 2008

     G14)      McCullough PA, overall Principal Investigator transferred to Zalesin K. FDA
        Investigational New Drug Exemption (INDE) #060672. A Prospective, Randomized, Placebo-
        Controlled, Parallel-Group, Pilot Trial of Paricalcitol in the Treatment of
        Hyperparathyroidism in Patients after Roux-en-Y Gastric Bypass Surgery with Chronic Kidney
        Disease, Abbott Laboratories, Inc., $496,600.00 (WBH #RC-90290), 0% FTE Status: closed
        2009
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     G15)      McCullough PA, overall Principal Investigator transferred to Miller WM, FDA INDE
        #107750. Investigator Initiated Study. A Prospective, Double-Blind, Randomized, Parallel
        Group, Placebo-Controlled Trial of Aliskiren versus Placebo in Non-Diabetic, Normotensive
        Obese Patients with Microalbuminuria, Novartis, Inc., $339,400.00 (WBH #RC-90345),
        Status: closed 2010

     G16)      McCullough PA, overall Principal Investigator. Investigator Initiated Study, FDA
        Investigational New Drug (IND) #74707. A Phase 2, randomized, double-blind, placebo-
        controlled trial, to assess the efficacy and safety of deferiprone in the reduction of markers
        of contrast-induced acute oxidative kidney injury. Cormedix, Inc, $857,745 (includes
        $101,442 for Beaumont Research Coordinating Center). Study centers included Providence
        Hospital and Medical Center Southfield, St. John Hospital and Medical Center, Detroit,
        Northern Michigan Hospitals, Petoskey, MI, St. Vincent’s Hospital, Indianapolis, IN, Fairfield
        Cardiac Cath Labs, LLC, Fairfield, OH, Oklahoma Heart Hospital, Oklahoma City, OK, Ohio
        Health Research Institute, Columbus, OH, Mercy St. Vincent Hospital, Toledo, OH, Status:
        closed 2011

     G17)      McCullough PA, overall study Principal Investigator, A Prospective Randomized
        Parallel-Group Controlled Trial of Multiple Blood Biomarkers in the Personalized
        Management of Chronic Heart Failure, Baylor IRB 014-252, Baylor Foundation, 2014,
        $78,639.20, status: closed 2016.

     G18)     McCullough PA, overall study Principal Investigator, Baylor Hypertrophic
        Cardiomyopathy Program Development Project: Time-resolved, 3D phase contrast
        magnetic resonance imaging (MRI) (4D Flow) and Advanced Strain Rate Echocardiography in
        Patients with Hypertrophic Cardiomyopathy, Baylor IRB 014-175, Baylor Foundation, 2014,
        $100,000.00, status: open

     G19)     McCullough PA, overall study Principal Investigator, Preventive Cardiology Registry:
        Role of Proprotein Convertase Subtilisin/kexin type 9 (PCSK9) and Other Catabolic
        Determinants in Hypercholesterolemia in Patients with Suspected Heterozygous Familial
        Hypercholesterolemia Baylor IRB 014-122, Baylor Foundation, $3,100.00, status: closed
        2014

     G20)       McCullough PA, overall study Principal Investigator and Study Chairman, Investigator
        Initiated Trial, “A Prospective, Double-blind, Placebo Controlled, Parallel Group,
        Randomized Trial of Extended Release Exenatide versus Placebo in Diabetic Patients with
        Type 4 Cardiorenal Syndrome: EXTEND-CRS”, D5551L00004/ISSEXEN0013, FDA IND 123200,
        Baylor IRB 014-149, AstraZeneca, 2014, $1,597,901.93, status: open

     G21)     McCullough PA, overall study Principal Investigator, Iso-osmolar Contrast and the
        Timing of Coronary Angiography in the Multivariate Risk for Cardiac Surgery Associated with


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         Acute Kidney Injury and Major Adverse Renal and Cardiac Events (MARCE), Baylor IRB 014-
         096, GE Healthcare, Inc, 2015, $145,885.00, status open

     G22)      McCullough PA, overall study Principal Investigator, Timing of coronary angiography
        and multivariate risk for cardiac surgery associated acute kidney injury and major adverse
        renal and cardiac events (MARCE), Baylor IRB 014-096, Baylor Foundation, $8,100.00,
        status: closed 2016

     G23)     Mendez J, McCullough PA, et al, co-investigator, Assessment of Multiple Blood
        Biomarkers in Patients with Advanced Heart Failure Undergoing Evaluation for Cardiac
        Transplantation and Mechanical Circulatory Support, Baylor IRB 014-300, Critical
        Diagnostics, Inc, $10,400.00, status: closed 2016

     G24)      Bottiglieri, T, McCullough PA, et al, co-investigator, Urinary 11dhTxB2 response to
        acetylsalicylic acid (aspirin) in cardiovascular disease progression and adverse outcomes,
        Baylor IRB 008-230, Corgenix, Inc., $99,087.00, status: closed 2016

     G25)     Schussler JM, Vasudevan A, McCullough PA, co-investigator, Clinical outcomes and
        metabolomic and damage associated molecular patterns of acute kidney injury in patients
        undergoing percutaneous coronary intervention via the radial versus femoral artery
        approach, Baylor IRB 014-299, Baylor Health Care System Foundation, $61,416.00, status:
        closed 2018

     G26)     Tecson K, McCullough PA, coinvestigator, Contribution of Chronic Kidney Disease and
        Acute Kidney Injury to Heart Failure Outcomes, Baylor IRB 015-296, Baylor Health Care
        System Foundation, $43,424.60, status: open

     G27)     Vasudevan A, McCullough PA, coinvestigator, Burden of Cardiovascular Events Follow
        Percutaneous Coronary Intervention, Baylor IRB 015-297, Baylor Health Care System
        Foundation, $40,000.00, status: closed 2018

     G28)      Tecson, K, McCullough PA, Therapeutic Intensity of Lipid Lowering Therapy in
        Response to Recurrent Cardiovascular Events, Baylor IRB 017-106, Amgen, Inc., $249,990.00
        status: open

     G29)     McCullough PA, Principal Investigator, A Case Finding Study of Familial
        Chylomicronemia, Akcea Pharmaceuticals, $10,000.00, status: closed 2017

     G30)      McCullough PA, Bottiglieri T, Tecson K. Baylor Foundation $49,923.80. Identifying
        metabolomic profiles among genetically confirmed familial hypercholesterolemia,
        dyslipidemia without familial hypercholesterolemia, and healthy controls, status start-up
        2019

 Site Principal Investigator Contracts
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     G1)Jafri S, McCullough PA, and the WATCH Investigators. Warfarin and Antiplatelet Therapy in
        Chronic Heart Failure, (W.A.T.C.H.) Field Center, Veterans Administration Cooperative
        Studies Program and Sanofi Pharmaceuticals, $36,000.00 (HFHS Grant #B51008) status:
        closed 2000

     G2) Jafri S, McCullough PA, and the CHARM Investigators. Candesartan Cilexetil (Candesartan)
         in Heart Failure Assessment of Reduction in Mortality and Morbidity (C.H.A.R.M.) Field
         Center, 1999-2000, Astra Pharmaceuticals, $56,000.00 (HFHS Grant #E09045) status: closed
         2000

     G3) Schuger C, McCullough PA, and the MADIT Investigators. Multicenter Automatic
         Defibrillator Implantation Trial II (M.A.D.I.T.-II), Guidant Corporation/Cardiac Pacemakers
         (CPI), $96,000 (HFHS Grant #G10087) status: closed 2000

     G4)Schuger C, McCullough PA, and the MIRACLE Investigators. Multicenter InSync Randomized
        Clinical Evaluation (M.I.R.A.C.L.E.), Medtronic Inc., $195,000, (HFHS Grant #G12006) status:
        closed 2000

     G5)McCullough PA, Shetty A, Soman S and the CHORUS Investigators. Cerivastatin Heart
        Outcomes in Renal Disease: Understanding Survival (C.H.O.R.U.S.), Barry Brenner, MD and
        William F. Keane, MD, Co-Principal Investigators, Bayer Inc., 2000-2003 (RCT), Clinical Site
        Contract, Bayer Pharmaceuticals, $266,875.00 10% FTE (HFHS Grant #E05046) status:
        closed 2000

     G6) McCullough PA, Manley HJ and the CHORUS Investigators. Cerivastatin Heart Outcomes in
         Renal Disease: Understanding Survival (C.H.O.R.U.S.), Barry Brenner, MD and William F.
         Keane, MD, Co-Principal Investigators, Bayer Inc., 2000-2003 (RCT), Clinical Site Contract,
         Bayer Pharmaceuticals, $279,000 10% FTE (UMKC Grant #E05046) status: closed 2001

     G7) Nowak R, McCord J, McCullough PA and the BNP Investigators. Breathing Not Properly
         Study (B.N.P. Multinational Study), Alan Maisel, MD, and Peter A. McCullough, MD, MPH,
         Co-Principal Investigators, Biosite Diagnostics, Inc., (prospective cohort study) Field Center
         Contract, Biosite Diagnostics, Inc., $180,000.00 (HFHS Site), $500,000.00, 0% FTE (HFHS
         Grant #E03005) status: closed 2001

     G8) Ehrman JK, McCullough PA. A Prospective Randomized Trial of a Personal Health Assistant
         in the Secondary Prevention of Heart Disease. Merck, Inc., $220,961.00, 7% FTE (HFHS
         Grant #E41010) status: closed 2002

     G9) McCullough PA and the CORC Investigators. Kansas City Cardiomyopathy Questionnaire
         Interpretability Study, John A. Spertus, MD, MPH, Principal Investigator, Cardiovascular
         Outcomes Research Consortium (C.O.R.C.), 2001 (multicenter, U.S., prospective cohort
         study), $21,400.00, status: closed 2002
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     G10)      McCullough PA, Rutherford BD, and the OAT Investigators. Occluded Artery Trial,
        Judith Hochman, MD, and Gervasio Lamas, MD, Co-Principal Investigators, National
        Institutes of Health, National Heart Lung and Blood Institute, $54,000.00. 0% FTE (UMKC
        Grant #K531122) status: closed 2002

     G11)     McCullough PA site Principal Investigator and National Executive Committee
        Member. Rapid Emergency Department Heart Failure Outpatient Trial, Biosite Diagnostics,
        $21,000. 0% FTE (UMKC Grant #K531130) status: closed 2002

     G12)     McCullough PA site Principal Investigator. African-American Heart Failure Trial
        (AHEFT). A Placebo-Controlled Trial of BiDil added to Standard Therapy in African American
        Patients with Heart Failure, NitroMed, Inc., $20,000.00 (UMKC Proposal #9722, TMC Grant
        #261231) status: closed 2002

     G13)      McCullough PA and the IMAGING Investigators for Cardiology Clinical Studies, LLC.
        Investigation of Myocardial Gated SPECT Imaging as Initial Strategy in Heart Failure: The
        IMAGING in Heart Failure Trial, Dupont Pharmaceuticals Inc., $20,000.00 (UMKC Proposal
        #9825, UMKC Grant #KG001278) status: closed 2002

     G14)     McCullough PA, site Principal Investigator, and Ad Hoc Executive Committee
        Member. Heart Failure and a Controlled Trial Investigating Outcomes of Exercise Training.
        National Institutes of Health, National Heart, Lung, and Blood Institute, subcontracted
        through the Duke Clinical Research Institute, $665,000, (NIH Grant #1 U01 HL63747 01A2,
        WBH Grant # RC 08-94837, Site #301) status: closed 2005

     G15)      McCullough PA, site Principal Investigator, and Executive Committee Member.
        Protocol No. 704.351 Evaluation of Synergy between Natrecor and Furosemide on Renal
        and Neurohormone Responses in Chronic Heart Failure: A Phase IV Study, Scios Inc., 2003
        (multicenter, U.S., randomized cross-over trial), $105,447.50, (WBH Grant # RC 08-94836)
        status: closed 2005

     G16)       McCullough PA, site Principal Investigator and National Co-Principal Investigator.
        Protocol No. CCIB002FUS12. A Multicenter, Double-blind, Randomized, Parallel Group
        Study to Evaluate the Effects of Lotrel and Lotensin HCT on Microalbuminuria in Mild to
        Moderate Hypertensive Subjects with Type 2 Diabetes Mellitus, Novartis Inc., (multicenter,
        U.S., randomized trial), $63,649.90, (WBH Grant #RC 08-94838) status: closed 2006

     G17)      McCullough PA, and the ACCOMPLISH Investigators. Protocol No. CCIB002.12301.
        Avoiding Cardiovascular Events through Combination Therapy in Patients Living with
        Systolic Hypertension, Novartis, Inc., 2003 (multicenter, multinational, randomized trial)
        $159,241.00, (WBH Grant #RC 08-94844) status: closed 2006



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     G18)     McCullough PA, site Principal Investigator. Efficacy of Vasopressin Antagonism in
        Heart Failure: Outcome Study with Tolvaptan, Protocol #156-03-236, IND #50,533, Otsuka
        Maryland Research Institute, (multicenter, international, randomized trial), $210,750.00,
        (WBH Grant #RC 08-94842 changed to #RC 08-94849) status: closed 2005

     G19)        McCullough PA, site Principal Investigator. A Multicenter, Double-Blind,
        Randomized, Parallel Group, 6-week Study to Evaluate the Efficacy and Safety of
        Ezetimibe/Simvastatin Combination versus Atorvastatin in Patients with
        Hypercholesterolemia, Protocol #051/EZT544, Merck, Inc., (multicenter, U.S., randomized
        trial), $18,840.00, (WBH Grant #RC 08-94843) status: closed 2006

     G20)      McCullough PA, site Principal Investigator, A multicenter, double-bind randomized,
        parallel-group study to compare the effect of 24 weeks treatment with LAF237 (50 mg qd or
        bid) to placebo as add-on therapy in patients with type 2 diabetes inadequately controlled
        with metformin monotherapy. Novartis Pharmaceuticals, Inc., (multicenter, U.S.,
        randomized trial), $30,700.00, (WBH Grant #RC 08-94845) status: closed 2007

     G21)       McCullough PA, site Principal Investigator. A multicenter, double-bind randomized,
        parallel-group study to compare the effect of 24 weeks treatment with LAF237 (50 mg qd or
        bid) to placebo as add-on therapy to pioglitazone 45 mg qd in patients with type 2 diabetes
        inadequately controlled with thiazolidinediones monotherapy. Novartis Pharmaceuticals,
        Inc., (multicenter, U.S., phase III randomized trial) $30,700.00, (WBH Grant #RC 08-94846)
        status: closed 2006

     G22)      McCullough PA, site Principal Investigator. An 8-week, randomized, double-blind,
        parallel group, multicenter placebo and active controlled disease escalation study to
        evaluate the safety and efficacy of aliskiren in patients with hypertension, $47,100.00 (WBH
        #RC 08- 94852) status: closed 2007

     G23)      McCullough PA, site Principal Investigator. A randomized, double-blind study to
        compare the durability of glucose lowering and preservation of pancreatic beta-cell function
        of rosiglitazone monotherapy compared to metformin or glyburide/glibenclamide in
        patients with drug naïve, recently diagnosed type 2 diabetes, $140,100.00, Novartis
        Pharmaceuticals (WBH #RC 08-94849) status: closed 2008

     G24)      McCullough PA, site Principal Investigator. A multicenter, randomized, double-blind
        factorial study of the co-administration of MK-0431 and metformin in patients with type 2
        diabetes who have inadequate glycemic control, $36,735.00, Merck Research Laboratories
        (WBH #RC 08-94853) status: closed 2008

     G25)      McCullough PA, site Principal Investigator. Multicenter, Randomized, Double-Blind
        Study to Evaluate the Efficacy & Safety of Ezetimibe/Simvastatin and Niacin Co-
        Administered in Patients with type IIa or Type IIb Hyperlipidemia, $46,960.00, Merck
        Research Laboratories, MRK-091, (WBH #RC 08-94854) status: closed 2008
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     G26)       McCullough PA, site Principal Investigator. A Multi-Center, Randomized, Double-
        Blind, factorial Design study to evaluate the lipid-altering efficacy & safety of MK-0524B
        Combination Tablet in Patients with Primary Hypercholesterolemia or Mixed Hyperlipidemia
        $40,849.00, Merck Research Laboratories, MRK-022. (WBH #RC 08-94855) status: closed
        2007

     G27)      McCullough PA, site investigator. An 8-week, multicenter, randomized, double-blind,
        parallel-group study to evaluate the efficacy and safety of the combination of
        valsartan/HCTZ/amlodipine compared to valsartan/HCTZ, valsartan/amlodipine, and
        HCTZ/amlodipine in patients with moderate to severe hypertension, $43,500.00, Novartis
        Pharmaceuticals (WBH #RC 08-94857) status: closed 2007

     G28)       McCullough PA, site Principal Investigator. A multicenter randomized, double-blind
        parallel arm, 6-week study to evaluate the efficacy and safety of ezetimibe/simvastatin
        versus atorvastatin in patients with metabolic syndrome and hypercholesterolemia at high
        risk for coronary heart disease, $32,010.00. Merck Research Laboratories (WBH #RC 08-
        94861) status: closed 2008

     G29)       McCullough PA, site Principal Investigator. A multicenter, randomized, double-blind
        study to evaluate the safety and efficacy of the initial therapy with coadministration of
        sitagliptin and pioglitazone in patients with type 2 diabetes mellitus, $24,036.00, Merck
        Research Laboratories, MRK-064 (WBH #RC 08-94860) status: closed 2008

     G30)    Dixon, SD, site PI, McCullough PA, Multinational Executive Committee. RENAL
        GUARD Pilot Trial. PLC Medical Systems, $37,610.00 (WBH #RC- 90771) status: closed 2008

     G31)      McCullough, PA, site Principal Investigator, A multi-center, randomized, double-
        blind, placebo and active controlled, parallel group, dose range study to evaluate the
        efficacy and safety of LCZ696 comparatively to valsartan, and to evaluate AHU377 to
        placebo after 8-week treatment in patients with essential hypertension. Novartis, Inc.,
        $31,965.28. (WBH #RC-94863) status: closed 2008

     G32)      McCullough PA, site Principal Investigator. Paricalcitol capsules benefits in renal
        failure induced cardiac morbidity in subjects with chronic kidney disease stage 3b/4,
        (PRIMO Abbott Laboratories, ABT-M-10-030, $157,992.00, (WBH #RC-94864) status: closed
        2008

     G33)     McCullough PA, site Principal Investigator. A randomized, double-blind, parallel
        group study to evaluate the effects of high-dose statin therapy on fluorodeoxyglucose (FDG)
        uptake in arteries of patients with atherosclerotic vascular disease. Merck Research
        Laboratories, MRK-081, $86,994.00 (WBH #RC 08-90223) status: closed 2008



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     G34)     McCullough PA, site Principal Investigator. Patient registry for the Liposorber LA-15
        system. Kaneka, Inc., $7,515.00, (WBH #RC-90877) status: closed 2009

     G35)     McCullough PA, site Principal Investigator. A 30-week multicenter, randomized,
        double-blind. Parallel-group study of the combination of ABT-335 and Rosuvastatin
        compared to rosuvastatin monotherapy in dyslipidemic subjects with stage 3 chronic kidney
        disease, Abbott M10-313, $128,544.00, (WBH #RC-90212) status: closed 2009

     G36)      McCullough PA, site Principal Investigator. A multicenter, randomized open label,
        active-comparator controlled study to assess the efficacy, safety, and tolerability of
        taspoglutide compared to exenatide in patients with type 2 diabetes mellitus inadequately
        controlled with metformin, thiazolidinedione, or a combination of both, Roche BC 21625,
        $72,012.50, (WBC #RC-90245) status: closed 2010

     G37)      McCullough PA, site Principal Investigator. A multicenter, randomized double-blind,
        placebo-controlled study to assess the efficacy, safety, and tolerability of taspoglutide
        compared to placebo in obese patients with type 2 diabetes mellitus inadequately
        controlled with metformin monotherapy, Roche BC 22092, $38,387.50, (WBH #RC-90258)
        status: closed 2009

     G38)      McCullough PA, site Principal Investigator. A safety and efficacy trial evaluating the
        use of apixaban for the extended treatment of deep vein thrombosis and pulmonary
        embolism, Bristol Myers Squibb-Pfizer CV185057, $173,750.00, (WBH #RC-90288) status:
        closed 2009

     G39)      McCullough PA, site Principal Investigator. A phase 3, active (warfarin) controlled,
        randomized, double-blind, parallel arm study to evaluate efficacy and safety of apixaban in
        preventing stroke and systemic embolism in subjects with nonvalvular atrial fibrillation,
        Bristol Myers Squibb-Pfizer CV1805030, $173,750.00, (WBH #RC-90275) status: 2009

     G40)     McCullough PA, site Principal Investigator. Treatment of Preserved Cardiac Function
        Heart Failure with an Aldosterone Antagonist Trial (TOPCAT), National Institutes of Health,
        National Heart, Lung, and Blood Institute, subcontracted through the New England
        Research Institutes, Inc., $86,250.00, (WBH #RC-90267) status: closed 2010

     G41)       McCullough PA, site Principal Investigator. An 8-week, randomized, double-blind,
        parallel group, multicenter, forced titration study to evaluate the efficacy and safety of
        aliskiren plus HCTZ verus aliskiren monotherapy in metabolic syndrome patients with stage
        2 hypertension, Novartis, Inc., $107,362.44 (WBH #RC-90277) status: closed 2009

     G42)      McCullough PA, site Principal Investigator, Astute SAPPHIRE AST-111, Evaluation of
        Novel Biomarkers from Acutely Ill Patients at Risk for Acute Kidney Injury, Astute Medical,
        Inc, San Diego, CA, $23,195.50 status: closed 2012


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     G43)      McCullough PA, site Principal Investigator, protocol number 156-10-292 titled “An
        Observational Prospective Registry to Identify Demographic and Clinical Characteristics of
        Patients Hospitalized with Euvolemic and Hypervolemic Hyponatremia and Assess the
        Comparative Effectiveness of Available Treatments and the Impact on Resource Utilization.
        Otsuka Inc., $21,262.60 status: initial contract fulfilled, reopened under extension and
        registry completed in 2013

     G44)      McCullough PA, site Principal Investigator, PROspective Multicenter Imaging Study
        for Evaluation of Chest Pain (PROMISE) Study, National Heart, Lung, and Blood Institute
        (NHLBI), Pamela Douglas, MD, Principal Investigator Clinical Coordinating Center, Duke
        Clinical Research Institute, $17,000.00 status: closed 2012

     G45)       McCullough PA, site Principal Investigator, ACZ885M/Canakinumab Clinical Trial
        Protocol CACZ885M2301 A randomized, double-blind, placebo-controlled, event-driven trial
        of quarterly subcutaneous canakinumab in the prevention of recurrent cardiovascular
        events among stable post-myocardial infarction patients with elevated hsCRP. Novartis,
        Inc., 2011 $279,223.00 status: closed 2015

     G46)      McCullough PA, site Principal Investigator, AN-CVD2233 Evaluation of the Safety and
        Efficacy of Short-term A-002 (Varespladib) Treatment in Subjects with Acute Coronary
        Syndromes (VISTA-16) Anthera Pharmaceuticals, Inc., 2011 $72,600.00 status: closed 2011

     G47)      McCullough PA, site Principal Investigator, BC22140A Cardiovascular outcomes study
        to evaluate the potential of aleglitazar to reduce cardiovascular risk in patients with a
        recent acute coronary syndrome (ACS) event and type 2 diabetes mellitus (T2D), F.
        Hoffmann-La Roche Ltd, $307,500.00 status: closed 2012

     G48)     McCullough PA, site Principal Investigator, A Double-blind, Randomized, Placebo-
        controlled, Multicenter Study (Phase 2) to Evaluate the Safety and Efficacy of IV Infusion
        Treatment with Omecamtiv Mecarbil in Subjects with Left Ventricular Systolic Dysfunction
        Hospitalized for Acute Heart Failure (Protocol 20100754), Amgen, Inc, 253,464.00 status:
        closed 2012

     G49)      McCullough PA, site Principal Investigator, MB102-073 A Multicenter, Randomized,
        Double-Blind, Placebo-Controlled, Parallel Group, Phase 3 Trial to Evaluate the Safety and
        Efficacy of Dapagliflozin in Subjects with Type 2 Diabetes with Inadequately Controlled
        Hypertension on an Angiotensin-Converting Enzyme Inhibitor (ACEI) or Angiotensin
        Receptor Blocker (ARB), Bristol-Myers Squibb Research and Development, 2011 $34,115.00
        status: closed 2012

     G50)      McCullough PA, site Principal Investigator, MB102-077 A Multicenter, Randomized,
        Double-Blind, Placebo-Controlled, Parallel Group, Phase 3 Trial to Evaluate the Safety and
        Efficacy of Dapagliflozin in Subjects with Type 2 Diabetes with inadequately controlled
        hypertension treated with an Angiotensin-Converting Enzyme Inhibitor (ACEI) or
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        Angiotensin Receptor Blocker (ARB) and an additional Antihypertensive medication, Bristol-
        Myers Squibb Research and Development, $34,115.00 status: closed 2011

     G51)      McCullough PA, site Principal Investigator, ABT M11350 RADAR: Reducing Residual
        Albuminuria in Subjects with Diabetes and Nephropathy with AtRasentan – A Phase 2b,
        Prospective, Randomized, Double-Blind, Placebo-Controlled Trial to Evaluate Safety and
        Efficacy, Abbott Laboratories, $188,377.00 status: closed 2012

     G52)      McCullough PA, site Principal Investigator, PEGASUS TIMI 54 trial, A Randomized,
        Double-Blind, Placebo Controlled, Parallel Group, Multinational Trial, to Assess the
        Prevention of Thrombotic Events with Ticagrelor Compared to Placebo on a Background of
        Acetyl Salicylic Acid (ASA) Therapy in Patients with History of Myocardial Infarction,
        AstraZeneca, 2011 $98,530.00 status: transferred to PI Marcel Zughaib, MD

     G53)      McCullough PA, site Principal Investigator, A Double-blind, Randomized, Placebo-
        controlled, Multicenter Study Assessing the Impact of Additional LDL-Cholesterol Reduction
        on Major Cardiovascular Events When AMG 145 is Used in Combination with Statin Therapy
        in Patients with Clinically Evident Cardiovascular Disease AMG 145 Amgen Protocol Number
        20110118 EudraCT number 2012-001398-97, Amgen, Inc., $1,732,062.80 status: closed
        2016

     G54)      McCullough PA, site Principal Investigator, A single-blind, multi-site trial of the
        dietary supplement anatabine (RCP006) to determine the effects on peripheral markers of
        inflammation in patients with elevated levels of C-reactive protein (CRP). Roskamp Institute
        Protocol Number RI-11-01, $6700.00 status: closed 2012

     G55)     McCullough PA, site Principal Investigator, Long-term safety and tolerability of
        REGN727/SAR236553 in high cardiovascular risk patients with hypercholesterolemia not
        adequately controlled with their lipid modifying therapy: a randomized, double-blind,
        placebo-controlled study LTS11717 Sanofi Aventis, $252,000.00 status: closed 2013

     G56)      McCullough PA, site Principal Investigator, Assessment of Clinical Effects of
        Cholesteryl Ester Transfer Protein Inhibition with Evacetrapib in Patients at a High Risk for
        Vascular Outcomes – the ACCELERATE Study, protocol I1V-MC-EIAN, Eli Lilly, $421,202.00
        status: closed 2014

     G57)     McCullough PA, site Principal Investigator, AEGR-733-025, LOWER: Lomitapide
        Observational Worldwide Evaluation Registry, Aegerion, Inc., 2014, $23,478.00 status: open

     G58)       McCullough PA, site Principal Investigator, The Evaluation Of PF-04950615 (RN316),
        In Reducing the Occurrence of Major Cardiovascular Events in High Risk Subjects (SPIRE-1),
        Pfizer, Inc., $145,343.90 status: closed 2016



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     G59)       McCullough PA, site Principal Investigator, The Evaluation Of PF-04950615 (RN316)
        In Reducing the Occurrence of Major Cardiovascular Events in High Risk Subjects (SPIRE-2),
        Pfizer, Inc., $145,343.90 status: closed 2016

     G60)      McCullough PA, site Principal Investigator, Long Term Observational Study in Patients
        with Homozygous Familial Hypercholesterolemia Treated with Kynamaro™, Genzyme-
        Sanofi, Inc., $61,260.00 status: closed 2018

     G61)     McCullough PA, site Principal Investigator, CUP14366, Alirocumab (SAR236553)
        Expanded Access Program for the Treatment of Severe Hypercholesteremia Not Controlled
        with Maximal Tolerated Dose of Lipid Lowering Therapy Administered According to
        Standard of Care, Sanofi-Regeneron, Inc., 2015 $8,500.00 status: closed 2015

     G62)     McCullough PA, site Principal Investigator, Aspirin Dosing: A Patient-Centric Trial
        Assessing Benefits and Long-term Effectiveness (ADAPTABLE), Patient-Centered Outcomes
        Research Institute, 2015 $29,400.00 status: open

     G63)      McCullough PA, site Principal Investigator, Assessment of Heart Failure using
        Condition-Specific Impact Assessments (PROMIS), Patient-Centered Outcomes Research
        Institute, 2015 $81,840.00 status: 2017 status: closed

     G64)       McCullough PA, site Principal Investigator, A Randomized Parallel-Group, Placebo-
        Controlled, Double-Blind, Event-Driven, Multi-Center Pivotal Phase III Clinical Outcome Trial
        of Efficacy and Safety of the Oral sGC Stimulator Vericiguat in Subjects With Heart Failure
        With Reduced Ejection Fraction (HFrEF) - VerICiguaT Global Study in Subjects With Heart
        Failure With Reduced Ejection Fraction (VICTORIA), Merck, Inc, 2017 $878,163.90 status:
        closed

     G65)      McCullough PA, site Principal Investigator, A phase III randomised, double-blind trial
        to evaluate efficacy and safety of once daily empagliflozin 10 mg compared to placebo, in
        patients with chronic Heart Failure with preserved Ejection Fraction (HFpEF), EMPEROR-
        PRESERVED, Boehringer-Ingleheim, 2017 $170,099.00, status: open

     G66)      McCullough PA, site Principal Investigator, A phase III randomised, double-blind trial
        to evaluate efficacy and safety of once daily empagliflozin 10 mg compared to placebo, in
        patients with chronic Heart Failure with preserved Ejection Fraction (HFpEF), EMPEROR-
        REDUCED, Boehringer-Ingleheim, 2017 $170,099.00, status: open

     G67)      Schiffmann R, McCullough PA Sub-Investigator, 014-097 PB-102-F03 (Sponsor -
        Protalix - PRX-102 1mg/kg q 2 weeks) A Multi Center Extension Study of PRX-102
        Administered by Intravenous Infusions Every 2 Weeks for 60 Months to Adult Fabry
        Patients, status: open



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     G68)      Schiffmann R, McCullough PA Sub-Investigator, 014-288 AT1001-042 (Sponsor -
        Amicus - oral drug - chaperone) An Open-Label Extension Study to Evaluate the Long-Term
        Safety and Efficacy of Migalastat Hydrochloride Monotherapy in Subjects with Fabry
        Disease, status: closed.

     G69)      Schiffmann R, McCullough PA Sub-Investigator, 016-153 PB-102-F20 (Sponsor -
        Protalix - BLINDED - ERT PRX-102 or Fabrazyme 1mg/kg q 2 weeks) A Randomized, Double
        blind, Active Control Study of the Safety and Efficacy of PRX-102 compared to Agalsidase
        Beta on Renal Function in Patients with Fabry Disease Previously Treated with Agalsidase
        Beta – Study Number PB-102-F20, status: open

     G70)      Schiffmann R, McCullough PA Sub-Investigator, 017-189 PB-102-F50 (Sponsor -
        Protalix - PRX-102 infusion - 2mg/kg monthly) A Phase 3, Open Label, Switch Over Study to
        Assess the Safety, Efficacy and Pharmacokinetics of pengunigalsidase alfa (PRX-102) 2 mg/kg
        Administered by Intravenous Infusion Every 4 Weeks for 52 weeks in Patients with Fabry
        Disease Currently Treated with Enzyme Replacement Therapy: Fabrazyme® (agalsidase
        beta) or Replagal (agalsidase alfa), status: open

     G71)     Schiffmann R, McCullough PA 018-150 MODIFY (Sponsor - Idorsia - oral drug -
        substrate reduction) A multicenter, double-blind, randomized, placebo controlled, parallel-
        group study to determine the efficacy and safety of lucerastat oral monotherapy in adult
        subjects with Fabry disease, status: open

     G72)      McCullough PA, site Principal Investigator, A Randomized, Double-blind, Placebo-
        controlled, Parallel-group Multicenter Study to Evaluate the Effects of Sotagliflozin on
        Clinical Outcomes in Hemodynamically Stable Patients with Type 2 Diabetes Post Worsening
        Heart Failure (SAR 439954), Sanofi US Services, Inc, $214,600.00, 2019, status: open

     G73)     McCullough PA, site Sub-Investigator, A Randomized, Double-blind, Placebo-
        controlled, Parallel-group Study to Evaluate the Safety and Efficacy of Alirocumab in
        Patients with Homozygous Familial Hypercholesterolemia (R727-CL-1628), Regeneron
        Pharmaceuticals, Inc, $143,503.00, 2019, status: closed

     G74)     McCullough PA, site Sub-Investigator, A Randomized, Double-Blind, Placebo-
        Controlled, Parallel-Group Study to Evaluate the Efficacy and Safety of Evinacumab in
        Patients with Homozygous Familial Hypercholesterolemia (R1500-CL-1629) Regeneron
        Pharmaceuticals, Inc, $143,503.00, 2019, status: closed

     G75)      McCullough PA, site Sub-Investigator, An Open-Label Study to Evaluate the Long-
        Term Efficacy and Safety of Evinacumab in Patients with Homozygous Familial
        Hypercholesterolemia (R1500-CL-1719) Regeneron Pharmaceuticals, Inc, $65,317.44, 2019,
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       G76)     Bottiglieri T, Tecson K, McCullough PA, Identifying metabolomic profiles among
          genetically confirmed familial hypercholesterolemia, dyslipidemia without familial
          hypercholesterolemia, and healthy controls, Baylor Health Care System Foundation,
          $49,293.80, 2020 status: open

       G77)      McCullough PA, Wheelan KE. BSWRI—Overall Principal Investigator, 001 A
          prospective clinical study of hydroxychloroquine in the prevention of SARS-COV-2 (COVID-
          19) infection in health care workers after high-risk exposures, FDA IND 149293, Baylor
          Health Care System Foundation, $506,506.00, 2020 status: open

       G78)       McCullough PA, Site Investigator, 4D-310-C001 entitled “An Open-label, Phase 1/2
          Trial of Gene Therapy 4D-310 in Adult Males with Fabry Disease” 4D Molecular
          Therapeutics, Inc, $101,210.85, 2020 status: open

       G79)      McCullough PA, Site Investigator, TQJ230, Assessing the Impact of Lipoprotein (a)
          Lowering With TQJ230 on Major Cardiovascular Events in Patients With CVD
          (Lp(a)HORIZON) Novartis Pharmaceuticals Corporation, $3,475,000.00, 2020 status open


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 A1)      McCullough PA, O'Neill WW, May M, Lichtenberg A, Strzelecki M, Grines CG, Safian RD.
       Predictors of Acute Complications after Percutaneous Coronary Revascularization with New
       Devices. J Am Coll Cardiol 1994; 122-123A [oral].

 A2)      McCullough PA, O'Neill WW, Hoffman M, Glazier S, Safian RD. The "Protective Effect" of
       Restenosis Lesions on Angiographic Complications with New Devices. Circulation 1995;92:I-346
       [poster].

 A3)       McCullough PA, Wolyn R, Rocher LL, Levin RN, O'Neill, WW. Acute Contrast Nephropathy
       After Coronary Intervention: Prediction of Dialysis and Related Mortality in the Elderly.
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 A4)       McCullough PA, Wolyn R, Rocher LL, Levin RN, O'Neill WW. Acute Contrast Nephropathy
       After Coronary Intervention: Incidence, Risk Factors, and Relationship to Mortality. J Am Coll
       Cardiol 1996;304-305A [oral].

 A5)      McCullough PA, Ayad O, Goldstein JA. Cost-Effectiveness Analysis of Patients Admitted with
       Chest Pain and Normal or Near-Normal Electrocardiograms.            Cathet Cardiovasc Diag
       1996;38:118 [poster].

 A6)      Aliabadi D, McCullough PA, Kaplan B, Grines CL, Safian RD, Pica M, O’Neill WW, Goldstein JA.
       A Novel Mobile Fluoroscopic Imaging System for Rapid Bedside Coronary Angiography. Cathet
       Cardiovasc Diag 1996;38:111 [oral].
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       Neurologic Outcome in Out-of-Hospital Sudden Death Survivors in the Emergency Department.
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 A8)       McCullough PA, O’Neill WW, Graham M, David S, Stomel R, Rogers F, Grines CL. A
       Prospective Randomized Trial of Triage Angiography in Suspected Acute Myocardial Infarction
       Patients Who are Considered Ineligible for Reperfusion Therapy. Circulation 1996;94:I-570
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 A9)      Aliabadi D, McCullough PA, Grines CL, Safian RD, Pica MC, O’Neill WW, Goldstein JA. A
       Novel Mobile Fluoroscopic Imaging System for Rapid Bedside Coronary Angiography. J Am Coll
       Cardiol 1997;450A [poster].

 A10) McCullough PA, O’Neill WW, Graham M, David S, Stomel R, Rogers F, Farhat A, Kazlauskaite
    R, Grines CL. Late Outcomes in the Medicine vs. Angiography for Thrombolytic Exclusion (MATE)
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    Ventricular Dysfunction Require Chronic Anticoagulation? A Prospective Analysis. J Am Coll
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    Survival after Sudden Cardiac Death: Derivation and Validation of a Clinical Model. J Am Coll
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    DS, Puchrowicz-Ochocki SB, O’Neill WW. A Randomized Trial of Prevention Measures in Patients
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 A15) Tobin KJ, McCullough PA, Speck JP, Westveer DC, Guido-Allen DA, Hartenburg DS,
    Puchrowicz-Ochocki SB, O’Neill WW, Stevens M. What Role Does Mannitol Play in Preventing
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 A16) McCullough PA, Al-Zagoum M, Graham M, David S, Stomel R, Rogers F, Farhat A,
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 A27) Hassan SA, Borzak S, Philbin EF, Soman S, Shah S, Weaver WD, Yee J, Marks KR, McCullough
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     L8) Third Annual Center for Health Futures Advisory Board Meeting:             “Congestive Heart
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        February 24, 2001.

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     L23)    “Epidemiology and Physiology of Radiocontrast Nephropathy and its Impact on
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     L24)       “Calcification or ‘Phosphication’—Controversies of Calcium Phosphate Deposition:
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     L31)     “How Subtle Degrees of Renal Dysfunction Work as a Cardiac Risk Factor” First
        Cardiovascular Prevention Symposium: Updates and New Guidelines. AHA, Puerto Rico
        Chapter, San Juan, PR, March 22, 2003.

     L32)      “What Is the Incremental Diagnostic Value of B-Type Natriuretic Peptide in Heart
        Failure?” Symposium. American College of Cardiology Scientific Sessions, 2003, Chicago, IL,
        April 1, 2003.


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     L33)     “Heart Failure Insights From Ejection Fraction” Session Co-Chair. Oral Contributions.
        American College of Cardiology Scientific Sessions, 2003, Chicago, IL, April 1, 2003.

     L34)      “Chronic Renal Insufficiency as a Vascular Risk Factor” 14 th Annual Scientific Sessions
        of the Society for Vascular Biology and Medicine, Chicago, IL, June 7, 2003.

     L35)     “Phosphate Control and Calcification from a Cardiologist’s Perspective” World
        Congress of Nephrology Satellite Symposium, Berlin, Germany, June 12, 2003.

     L36)      “Renal Disease is a Risk Factor for Cardiovascular Disease” ACC 29 th Annual Tutorials
        in the Tetons 2003: Update in Cardiovascular Disease, August 25-27. 2003.

     L37)    “Diagnosis of Congestive Heart Failure: Is BNP Needed in Every Case?” ACC 29 th
        Annual Tutorials in the Tetons 2003: Update in Cardiovascular Disease, August 25-27. 2003.

     L38)    “How to Treat Combined Heart and Renal Failure with Hypertension” ACC 29 th
        Annual Tutorials in the Tetons 2003: Update in Cardiovascular Disease, August 25-27. 2003.

     L39)      “Which Agents Prevent Contrast-Induced Nephropathy?” European Society of
        Cardiology 2003 Symposium: Managing Patients at Risk for Contrast-Induced Nephropathy,
        Vienna, Austria, September 2, 2003.

     L40)     “Epidemiology of Contrast Nephropathy” Symposium Chair for “A Contrast in Risk:
        Radiographic Imaging in the Renally Compromised Patient”, Satellite Symposium at the
        Transcatheter and Therapeutics Scientific Meeting, Washington, DC, September 17, 2003.

     L41)      “Update on Cardiovascular Risk Reduction in Acute Coronary Syndrome Patients”
        14th Annual Great Wall International Congress of Cardiology, Beijing, China, October 10-13,
        2003.

     L42)     “Renal Function and Dysfunction in Coronary Arteriography” 14 th Annual Great Wall
        International Congress of Cardiology, Beijing, China, October 10-13, 2003.

     L43)     “Interventional Cardiology 2003: Bench to Bedside and Beyond, Session III: Contrast
        Nephropathy: Separating the Hype from the Data. Antagonist: Contrast Nephropathy Can
        be Prevented.” AHA Scientific Sessions 2003, November 9, 2003, Orlando, FL.

     L44)     ”Reversing Diabetes and Its Consequences: Pipe Dream or Reality?” The 35 th Annual
        Cardiovascular Conference at Snowmass, ACC, Snowmass, CO, January 12-16, 2004.

     L45)      “Refining the Use of B-type Natriuretic Peptide as a Diagnostic Test in Clinical
        Practice” The 35th Annual Cardiovascular Conference at Snowmass, ACC, Snowmass, CO,
        January 12-16, 2004.


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     L46)    “Practical Management of Obesity for the Cardiologist: The Future of Dietary
        Management and Bariatric Surgery” The 35 th Annual Cardiovascular Conference at
        Snowmass, ACC, Snowmass, CO, January 12-16, 2004.


     L47)      “Update from the Hypertension World: JNC 7—What’s New and How Will it
        Influence Practice?” Thirteenth Annual Cardiovascular Conference at Beaver Creek,
        Colorado, WBH and Duke University, February 9-13, 2003

     L48)     “The Lethal Couplet” Thirteenth Annual Cardiovascular Conference at Beaver Creek,
        Colorado, WBH and Duke University, February 9-13, 2003

     L49)       “BNP to Differentiate Between Cardiac and Extracardiac Sources of Dyspnea” 33 rd
        Critical Care Congress, Society of Critical Care Medicine, Orlando, Florida, February 23,
        2004.

     L50)    “BNP Testing: Is It Ready for In-Hospital Monitoring of Therapy?” Point-of-Care
        Symposium, American College of Cardiology Scientific Sessions 2004, New Orleans, LA,
        March 8, 2004.

     L51)    “Role of Brain Natriuretic Peptide Levels in Diagnosis” Natriuretic Peptides
        Symposium, American College of Cardiology Scientific Sessions 2004, New Orleans, LA,
        March 8, 2004.

     L52)     “Renal Insufficiency and the Heart” Symposium Co-Chair, American College of
        Cardiology Scientific Sessions 2004, New Orleans, LA, March 9, 2004.

     L53)    “Renal Insufficiency and Bypass Surgery” Renal Insufficiency and the Heart
        Symposium, American College of Cardiology Scientific Sessions 2004, New Orleans, LA,
        March 9, 2004.

     L54)     “Causes and Consequences of Contrast-Induced Nephropathy and other Major
        Adverse Coronary Events” Contrast-Induced Nephropathy: Addressing the Needs of the
        High Risk Patient. A Satellite Symposium to the American College of Cardiology Scientific
        Sessions 2004, New Orleans, LA, March 9, 2004.

     L55)    “Chronic Kidney Disease as a Cardiovascular Risk Factor” 2 nd Annual Scientific
        Symposium, AHA of Puerto Rico, San Juan, PR, March 13, 2004

     L56)    “Modern use of Angiotensin Receptor Blockade in Cardiovascular Disease” 2 nd
        Annual Scientific Symposium, AHA of Puerto Rico, San Juan, PR, March 13, 2004




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     L57)      “Chronic Kidney Disease and Cardiovascular Disease” Satellite Symposium: Impact
        of Anemia Correction in Cardiovascular Patients, American Society of Hypertension Annual
        Scientific Session, New York, NY, May 22, 2004.

     L58)      “Contrast-Induced Nephropathy—Clinical Anomaly or Reality” Satellite Symposium:
        Selecting Contrast Media - Implications for Patient outcomes, EuroPCR 2004, Paris, France,
        May 26, 2004.

     L59)     “Contrast Nephropathy” Intervention 2004. American College of Cardiology
        Nationwide Symposium, CNN Center, Atlanta, GA, June 2, 2004.

     L60)     “Technical Issues in Selection of the BNP Assay” Satellite Symposium of the American
        Association of Clinical Chemistry, Los Angeles, CA, July 28, 2004.

     L61)     “B-type Natriuretic Peptide in Clinical Practice” New Development in Cardiac
        Biomarkers for Detection and Management of Cardiovascular Diseases, EBAC Accredited
        Educational Programme, in conjunction with the European Society of Cardiology 2004
        Annual Congress, Munich, Germany, August 30, 2004.

     L62)     “Hot Topics: Renal Disease and Contrast Nephropathy—Implications for the PCI
        Patient” Session Moderator, Transcatheter Cardiovascular Therapeutics 2004, September
        27, 2004.

     L63)     “Definition and Pathophysiology of Contrast Nephropathy”, “Hot Topics: Renal
        Disease and Contrast Nephropathy—Implications for the PCI Patient” Transcatheter
        Cardiovascular Therapeutics 2004, September 27, 2004.

     L64)     “Use of BNP in Clinical Practice” “Hot Topics: Clinical Utility of Biomarkers”
        Transcatheter Cardiovascular Therapeutics 2004, September 28, 2004.

     L65)      “Contrast Media, Renal Insufficiency, and Radiocontrast Nephropathy” Introduction
        to Cardiac Catheterization and Indications for Percutaneous Interventions, 7 th Annual
        Interventional Cardiology Self Assessment and Review Course, Transcatheter Cardiovascular
        Therapeutics 2004, September 29, 2004.

     L66)     “Body Weight—Optimal Targets and How Good are We in Getting There” “Drug
        Combinations for Cardiovascular Disease” Duke Clinical Research Institute and U.S. Food
        and Drug Administration Think Tank, Washington, DC, October 8, 2004.

     L67)     “Does Coronary Calcification Imply Plaque Instability?” Managing Cardiovascular and
        Calcium/Phosphorus Complications of CKD. Official Luncheon Symposium, Renal Week
        2004, American Society of Nephrology, St. Louis, MO, October 20, 2004.



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     L68)      “B-type Natriuretic Peptide in the Diagnosis of Acute Heart Failure,” New Advances in
        the Diagnosis and Management of Acute Decompensated Heart Failure, Satellite
        Symposium to the AHA Scientific Sessions 2004, New Orleans, LA, November 8, 2004.

     L69)      “Oportunidades para Aprimoramento no Tratamiento da Insuficiencia Cardiaca,” 3rd
        Congresso Brasileiro de Insuficiencia Cardiaca, II Simposio Luso-Brasileiro de Insufiencia
        Cardiaca, I Encontró Multiporfissional em Insuficiencia Cardiaca, II Simposio
        Latinoamericano de Insuficiencia Cardiaca, (Portugese) Salvador, Bahía, Brasil, November
        25-27, 2004.

     L70)      “Peptideo Natriuretico Intravenoso-Perspectivas para Emprego na IC
        Descompensada,” 3rd Congresso Brasileiro de Insuficiencia Cardiaca, II Simposio Luso-
        Brasileiro de Insufiencia Cardiaca, I Encontro Multiprofissional em Insuficiencia Cardiaca, II
        Simposio Latinoamericano de Insuficiencia Cardiaca, (Portugese) Salvador, Bahia, Brasil,
        November 25-27, 2004.

     L71)      “Nesiritide (Peptideo Natriuretico Intravenoso) uma Nova Arma no Tratamento da IC
        Grave e Decompensada,” 3rd Congresso Brasileiro de Insuficiencia Cardiaca, II Simposio
        Luso-Brasileiro de Insufiencia Cardiaca, I Encontro Multiporfissional em Insuficiencia
        Cardiaca, II Simposio Latinoamericano de Insuficiencia Cardiaca, (Portuguese) Salvador,
        Bahia, Brasil, November 25-27, 2004.

     L72)      “Conferenca Magna (Keynote Address): The Cardiorenal Intersection: Crossroads to
        the Future,” 3rd Congresso Brasileiro de Insuficiencia Cardiaca, II Simposio Luso-Brasileiro
        de Insufiencia Cardiaca, I Encontro Multiporfissional em Insuficiencia Cardiaca, II Simposio
        Latinoamericano de Insuficiencia Cardiaca, (Portuguese) Salvador, Bahia, Brasil, November
        25-27, 2004.

     L73)     “Practical Use of BNP in the Diagnosis and Management of Heart Failure” Medical
        Grand Rounds, Olathe Regional Medical Center, Olathe, KS, December 3, 2004.

     L74)     “Management of Heart and Renal Failure” The 36th Annual Cardiovascular
        Conference at Snowmass, ACC, Snowmass, CO, January 18, 2005.

     L75)    “Contrast-Induced Nephropathy” The 36th Annual Cardiovascular Conference at
        Snowmass, ACC, Snowmass, CO, January 18, 2005.

     L76)     “Combined Heart and Kidney Failure” Cardiovascular Conference at Snowmass,
        Aspen, CO, January 18, 2005.

     L77)    “Practice Strategies and Protocols to Reduce Renal Complications” PCI:
        Understanding and Managing In-Hospital Cardiac and Renal Complications, 3 rd European
        Summit, Chantily, France, February 11, 2005.


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     L78)    “HDL Cholesterol: A Powerful New Therapeutic Target” 14 th (Conference Chair)
        Annual Cardiovascular Conference at Beaver Creek, Beaver Creek, CO, February 14, 2005.

     L79)     “BNP-ology, is the Enthusiasm Warranted?” (Conference Chair) 14 th Annual
        Cardiovascular Conference at Beaver Creek, Beaver Creek, CO, February 15, 2005.

     L80)      “Anticoagulation for Atrial Fibrillation: Can Warfarin be Replaced?” (Conference
        Chair) 14th Annual Cardiovascular Conference at Beaver Creek, Beaver Creek, CO, February
        18, 2005.


     L81)     "New Multimarker Strategies in the Diagnosis of Acute Coronary Syndromes" Satellite
        Symposium to the 54th Annual American College of Cardiology Scientific Sessions 2005,
        Orlando, FL, March 7, 2005.

     L82)     “Effect of Lowering LDL Level on Progression of Vascular Calcification” Reducing the
        Burden of Cardiovascular Calcification in Chronic Kidney Disease, Satellite Symposium to the
        Renal Physicians Association Annual Meeting, Washington, DC, March 20, 2005.

     L83)      "Why Chronic Kidney disease is a CVD risk factor: Practical Implications in the Care of
        Cardiovascular Patients" Cardiology Grand Rounds, Clinical Science Institute, Galway,
        Ireland, UK, May 5, 2005.

     L84)     “Clinical Application of B-type Natriuretic Peptide Levels in the Care of Cardiovascular
        Patients” EuroLab 2005, Glasgow, Scotland, UK, May 9, 2005.

     L85)     “Anemia Is a Cardiovascular Risk Factor in Patients With Diabetic Nephropathy” The
        Kidney is a Key Link between Diabetes and Cardiovascular Disease: Managing Risk; Satellite
        Symposia to the Annual Scientific Sessions of the American Association of Clinical
        Endocrinology, Washington, DC, May 18, 2005.

     L86)     “CIN: Emerging Trends in Identifying and Managing the At-risk Patient”
        Cardiovascular and Interventional Radiology Society of Europe (CIRSE) 2005, Nice, France,
        September 13, 2005.

     L87)     “Recent Advances in Cardiac Markers and their Clinical Role in Cardiovascular
        Disease: Update of the BNP Consensus Panel Statements and Cost Effectiveness of BNP
        Testing” Turning Science into Caring Programme, Abbott European Laboratory Symposium,
        Wiesbaden-Delkenheim, Germany, October 14, 2005.

     L88)    “Epidemiology and Prevention of Contrast Nephropathy” Transcatheter Therapeutics
        Annual Scientific Sessions, Washington, DC, October 19, 2005.



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     L89)     “BNP—What Does it All Mean?” Heart Failure 2005: What to Do for the Failing Left
        Ventricle” AHA Symposium in Conjunction with the 2005 Scientific Sessions, Dallas, TX,
        November 11, 2005.

     L90)     “How to Use Cardiac Biomarkers in Heart Failure” 2005 Annual Scientific Sessions of
        the AHA, Dallas, TX, November 14, 2005, broadcasted nationally as “Best of Sessions 2005
        on Wednesday, November 30 from 1:00-2:30PM EST”

     L91)     “Chronic Kidney Disease as a Cardiovascular Risk State: Practical Management for
        the Cardiologist” St. Vincent’s Hospital, University of British Columbia, Distinguished
        Speakers in Cardiovascular Medicine, 2005-2006, Vancouver, BC, Canada, December, 1,
        2005.

     L92)     “Anemia, Chronic Kidney Disease, and Cardiovascular Disease: Diagnosis, Prognosis,
        and Treatment. Nephrology Grand Rounds, University of British Columbia, St. Vincent’s
        Hospital, Vancouver, BC, Canada, December 2, 2005.

     L93)     “The Deadly Triangle of Anemia, Kidney and Heart Disease: Implications for
        Treatment and Management” 37th Annual Cardiovascular Conference at Snowmass,
        January 20, 2006, Snowmass, CO.

     L94)     “Anemia in Cardiovascular Patients: Diagnosis, Prognosis, and Therapy.” AHA,
        Prevention VIII Conference: Kidney Disease, Hypertension, and Cardiovascular Disease,
        January 27, 2006, Orlando, FL.

     L95)     “Update on Bariatric Surgery” (Conference Chair) 15 th Annual Cardiovascular
        Conference at Beaver Creek, Beaver Creek, CO, February 17, 2006.

     L96)     “Multimarker Approach to Chest Pain.” Satellite Symposium to the Annual Scientific
        Sessions of the American College of Cardiology, March 11, 2006, Atlanta, GA.

     L97)    ” Preventing Contrast Nephropathy: What Works?” American College of Cardiology
        Annual Scientific Sessions (ACC.06 and the i2 Summit 2006), March 14, 2006, Atlanta, GA.

     L98)      “Consensus statements on strategies to reduce the risk of CIN.” Satellite Symposium
        Society for Cardiac Angiography and Intervention 29 th Annual Scientific Sessions
        (Symposium Chair): Consensus Statements on Contrast-Induced Nephropathy (CIN): Report
        of an International, Multidisciplinary Panel, Chicago, IL, May 11, 2006.

     L99)     “Contrast-induced nephropathy: identifying and managing the patient at risk.” Euro
        PCR 2006 Satellite Symposium: The Underestimated Impact of Contrast Media on Patient
        Outcomes in PCI (Symposium Chair), Paris, France, May 27, 2006.



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     L100)     “Debate: Acute Decompensated Heart Failure--Biomarker will suffice” 17 th Annual
        Scientific Sessions of the American Society of Echocardiography, Baltimore, MD, June 6,
        2006.

     L101)    “Heart and Kidney: Clinical Impact of Contrast Media” Update on Cardiovascular
        Disease 2006, Casa Di Cura Montevergine, Napoli Castel Dell’Ovo, Naples, Italy, June 19,
        2006.

     L102)     “Cardiovascular Disease in CKD: Where Does Calcium Fit In?” Satellite Symposia:
        Current Strategies for the Management of Hyperphosphatemia in End-Stage Renal Disease.
        European Renal Association/European Dialysis and Transplantation Association Annual
        Scientific Meeting, Glasgow, Scotland, July 17, 2006.

     L103)     “Applications of BNP in Cardiovascular Disease” Satellite Symposia: New and
        Evolving Markers for Cardiovascular Disease: Myeloperoxidase (MPO) and BNP. American
        Association of Clinical Chemistry Annual Meeting, Chicago, IL, July 26, 2006.

     L104)      “Clinical Applications of B-type Natriuretic Peptide Testing” Clinical Biochemistry
        Satellite Symposium: The Role of Biochemical Markers in Clinical Cardiology, Sponsored by
        the Australasian Association of Clinical Biochemists at the 54 th Annual Scientific Meeting of
        the Cardiac Society of Australia and New Zealand, Canberra, Australia, August 4, 2006.

     L105)     “Update on BNP in the Management of Heart Failure” 54 th Annual Scientific Meeting
        of the Cardiac Society of Australia and New Zealand, Canberra, Australia, August 6, 2006.

     L106)    “Update on BNP in the Management of Heart Failure” Cardiology Grand Rounds,
        Royal North Shore Hospital, Sydney, Australia, August 7, 2006.

     L107)    “Contrast-Induced Nephropathy: Identifying and Managing the Patient at Risk”
        Advances in Contrast-Enhanced Imaging: Improving Outcomes and Reducing Risks of
        Iodinated Contrast (Chairman), a CME Satellite Symposium at the Transcatheter
        Therapeutics 2006 Conference, Washington, DC, October 24, 2006.

     L108)     “Cardiorenal Syndrome: Etiology, Therapy, and Prognosis” Unresolved Issues in
        Heart Failure, Cardiovascular Seminars, 2006 Annual Scientific Sessions of the AHA, Chicago,
        IL, November 14, 2006

     L109)     “Prevention and Management of CAD in CKD” Coronary Artery Disease in CKD:
        Updating the Pathophysiology and Management. Official Symposium of the American
        Society of Nephrology, Sand Diego, CA, November 16, 2006.

     L110)    “Pharmacologic Prevention of Sudden Death in Dialysis Patients” Sudden Death in
        Hemodialysis Patients: Towards Prevention. American Society of Nephrology Renal Week
        2007, San Diego, CA, November 17, 2006.
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     L111)    “Contrast Nephropathy: Finding Consensus on a Rational Approach” Radiology
        Grand Rounds, Hôpital Notre-Dame, University of Montreal, Canada, November 23, 2006.

     L112)    “Contrast Nephropathy: Finding Consensus on a Rational Approach” Radiology
        Grand Rounds, Hôpital St-Luc, University of Montreal, Canada, November 23, 2006.

     L113)    “Cardiorenal Syndrome and Anemia” 3rd Annual Heart Failure University (HFU)
        Cardiovascular Fellows Program, Los Angeles, CA, December 2, 2006.

     L114)    “Implications of Age-Related Decline in Renal Function” 16 th Annual Cardiovascular
        Conference at Beaver Creek, Beaver Creek, CO, February 12, 2007.

     L115)    “Using BNP in Your Practice: Pearls and Pitfalls” 16 th Annual Cardiovascular
        Conference at Beaver Creek, Beaver Creek, CO, February 15, 2007.

     L116)    “Consensus Panel Findings on Contrast Nephropathy” 16 th Annual Cardiovascular
        Conference at Beaver Creek, Beaver Creek, CO, February 16, 2007.

     L117)    “Measuring BNP in ACS,” American College of Cardiology Scientific Sessions Satellite
        Symposium, “ACS & Biomarkers: From Molecules to Patient Management”, New Orleans,
        LA, March 24, 2007.

     L118)    “Anemia Correction and CVD Trials” “Ask the Experts” clinicaltrialresults.org,
        American College of Cardiology Scientific Sessions, New Orleans, LA, March 26, 2007.

     L119)     “CKD and CVD: Interaction and Risk Factors”, Kidney Disease: The Unrecognized
        Silent Killer, NKF 2007 Scientific Meetings, Orlando, FL, April 11, 2007.

     L120)    “Contrast-Induced Nephropathy: A Meta-Analyses of the Renal Safety of Iodixanol”
        Special Lecture for the Radiological Society of the Republic of China, National Yang-Ming
        University, School of Medicine, Taipei, Taiwan, May 4, 2007.

     L121)    “Contrast-Induced Nephropathy: A Meta-Analyses of the Renal Safety of Iodixanol”
        Annual Meeting of Kaohsiung Society of Radiology, Chang Gung Memorial Hospital,
        Kaohsiung Hsien, Taiwan, May 5, 2007.

     L122)     ”Meta-Analyses of the Renal Safety of Iodixanol”, Plenary Session, 15 th Annual
        Scientific Congress of the Hong Kong College of Cardiology, Hong Kong, SAR, May 6, 2007.

     L123)    “Contrast-Induced Nephropathy: A Meta-Analyses of the Renal Safety of Iodixanol”
        Cardiology Special Lecture, 12th Department of Cardiology, Beijing AnZhen Hospital, Beijing,
        Peoples Republic of China, May 7, 2007.


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     L124)     “Prevention of CIN during PCI in Diabetic Patients: Proposal of a Guideline"
        (Prevencion del Fracaso Renal Inducido por Contraste en Pacientes Diabeticos Sometidos a
        Intervencionismo Coronario: Propestuesta de un Protocolo Actuacion), Optimizacion del
        Tratamiento de Revascularizacion Percutanea en Pacientes Diabeticos, TEAM (Terapia
        Endovascular & Miocardica), Hospital del Mar, Barcelona, Spain, May 11, 2007.

     L125)   “Acute Kidney Injury from Iodinated Contrast: Findings from an International Panel,”
        Hungarian Society of Cardiology Annual Scientific Meeting (Magyar Kardiologusok Tarsasaga
        Tudomanyos Kongresszusa) Balatonfured, Hungary, May 12, 2007.

     L126)    “Which Types and Which Amount of Physical Activities to Achieve and Maintain a
        Healthy Body Weight?” 4th Metabolic Syndrome, Type II Diabetes, and Atherosclerosis
        Congress (MSDA), 2007, Lisbon, Portugal, May 19, 2007.

     L127)    “The Role of BNP in Patients with Shortness of Breath,” Laboratory Diagnostic
        Technologies for Patients with Shortness of Breath, Satellite Symposium to the American
        Association of Clinical Chemistry Annual Scientific Meeting, San Diego, CA, July 18, 2007.

     L128)     “Acute Kidney Injury after Contrast: A Serious Problem by Any Name”,
        Hemodynamics, Electrolytes, Acute Kidney Injury: Novel Considerations in Contrast
        Selection, Transcatheter Cardiovascular Therapeutics 2007 Annual Meeting Satellite
        Symposium, Washington, DC, October 23, 2007.

     L129)    “Vascular Calcification: Myth versus Realty: A Cardiologist's Perspective,” Changing
        Paradigms: Evolving Bone and Mineral Metabolism Treatment in CKD, An American Society
        of Nephrology 2007 Official Symposia, San Francisco, CA, November 3, 2007.

     L130)    “Contrast-Induced Nephropathy” Cardiology Grand Rounds, Auckland City Hospital,
        Auckland, New Zealand, November 22, 2007.

     L131)    “Practical Use of Natriuretic Peptides in Cardiovascular Disease” North Shore
        Hospital- Waitemata Health, Takapuna, Auckland, New Zealand, November 22, 2007.

     L132)    “Practical Use of Natriuretic Peptides in Cardiovascular Disease” Waikato Hospital,
        Hamilton, New Zealand, November 23, 2007.

     L133)    “Practical Use of Natriuretic Peptides in Cardiovascular Disease” Wakefield Hospital,
        Adelaide, Australia, November 23, 2007.

     L134)      “Clinical Utilization of Cardiac Troponin and Natriuretic Peptides in ACS and CHF”
        Satellite Symposium to Australasian Emergency Meeting (ACEM), Gold Coast, Brisbane,
        Australia, November 27, 2007.



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     L135)    “Clinical Utilisation of Cardiac Troponin and Natriuretic Peptides in ACS and CHF: Part
        1: Congestive Heart Failure, Part 2: Acute Coronary Syndrome, Part 3: Cardio-Renal
        Syndrome, Kuala Lumpur, Malaysia, November 29, 2007.

     L136)     “Multimarker Strategies in the Management of Cardiovascular Emergencies,” YMCA
        for Dr. H.F.Ho, Queen Elizabeth Hospital, Hong Kong, SAR, November 30, 2007.

     L137)     “Practical Management of Cardiovascular Disease in Patients with Kidney Disease”
        Williamsburg, Virginia for the 34th Annual Williamsburg Conference on Heart Disease,
        Williamsburg, VA, December 3, 2007.

     L138)    “New Cardiovascular Drugs” 17th Annual Cardiovascular Conference at Beaver
        Creek” Avon, CO, February 12, 2008.

     L139)    “New Insights into Atherosclerosis and Global CVD Risk,” 17 th Annual Cardiovascular
        Conference at Beaver Creek” Avon, CO, February 12, 2008.

     L140)    “Plenary 2 : Mini-Symposia: Acute Kidney Injury (AKI): Pathophysiology: Contrast
        Nephropathy: Epidemiology and Prognosis” 13 th Annual International Conference on
        Continuous Renal Replacement Therapies, San Diego, CA, February 28, 2008.

     L141)    “Heart Failure and Cardio-Renal Syndrome 1: Pathophysiology” 13 th Annual
        International Conference on Continuous Renal Replacement Therapies, San Diego, CA,
        February 29, 2008.

     L142)    “Hemodynamic Monitoring: Principles and Practice” 13 th Annual International
        Conference on Continuous Renal Replacement Therapies, San Diego, CA, February 29, 2008.

     L143)    “Cardiovascular Calcification, Potential Strategies in Minimizing Cardiovascular
        Disease in CKD”, Satellite Symposia at the 57th ACC Annual Scientific Sessions, Chicago, IL,
        March 30, 2008.

     L144)    “Emergency Evaluation of Chest Pain: Building a Better Mousetrap” Olathe Medical
        Center Annual Heartbeat Symposium, Olathe, KS, April 4, 2007.

     L145)     “Interventions and CVD Interactions in Diabetics with Proteinuria” Satellite Symposia
        (Chairman) Chronic Kidney Disease Interventions: Improving CKD and CVD Outcomes” NKF
        Clinical Meeting 2008, Dallas, TX, April 5, 2008.

     L146)   “Shifting Paradigms in PCI: Controversial Issues in High-Risk Patients” International
        Symposium (Chairman), Barcelona, Spain, April 10, 2008.




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     L147)     “Success in Identifying Heart Failure” Satellite Symposia “Managing CVD: What Every
        Internist Needs to Know” Annual Scientific Sessions of the American College of Physicians,
        Washington, DC, May 14, 2008.

     L148)     “Cardiovascular Calcification in Patients with Chronic Kidney Disease” Satellite
        Symposia “Cardiovascular Disease in CKD: Strategies for Minimizing Mortality” Annual
        Scientific Sessions of the American College of Physicians, Washington, DC, May 15, 2008.

     L149)    “Clinical Trial Designs in Contrast Induced Acute Kidney Injury,” Third Annual AKIN
        Conference on Research Initiatives in AKI, Bethesda, MD, June 10-12, 2008.

     L150)     “Neutrophil Gelatinase Associated Lipocalin (NGAL)” on Behalf of Inverness Medical,
        Third Annual AKIN Conference on Research Initiatives in AKI, Bethesda, MD, June 10-12,
        2008.

     L151)    “Practical Strategies to Manage Contrast-induced Acute Kidney Injury (CI-AKI): The
        Evidence and the Controversy” Radiological Society of Taiwan, Taipei, Taiwan, July 17,
        2008.

     L152)    “Practical Strategies to Manage Contrast-induced Acute Kidney Injury (CI-AKI): The
        Evidence and the Controversy” Radiological Society of Taiwan, Kaushiung, Taiwan, July 18,
        2008.

     L153)    “Practical Strategies to Manage Contrast-induced Acute Kidney Injury (CI-AKI): The
        Evidence and the Controversy” Contrast-Induced Nephropathy Symposium, Professor Yalin
        Han, MD, Chairwoman of Military Cardiology Society of China, Shenyang, China, July 20,
        2008.

     L154)     Cardiology Teaching Rounds, with Professor Runlin Gao, Beijing Fuwai Hospital,
        Beijing, China, July 21, 2008.

     L155)     Cardiology Teaching Rounds, with Professor Yujie Zhou, Beijing Anzhen Hospital,
        Beijing, China, July 21, 2008.

     L156)     Cardiology Teaching Rounds with Professor Yundai Chen, General Hospital of
        Military, Peoples Liberation Army, Beijing, China, July 21, 2008.

     L157)     “Practical Strategies to Manage Contrast-induced Acute Kidney Injury (CI-AKI): The
        Evidence and the Controversy” Contrast-Induced Nephropathy Symposium, Contrast-
        Induced Nephropathy Symposium, Professor Runlin Gao, Chairman of Chinese Cardiology
        Society, Beijing, China, July 22, 2008.K

     L158)    “New Insights on Accelerated Vascular Calcification in Patients with Kidney Disease”
        Plenary Session: Ischemic Heart Disease/Risk Assessment/New Treatment Strategies”
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        International Academy of Cardiology 14th World Congress on Heart Disease, Annual
        Scientific Sessions, Toronto, Ontario, Canada, July 29, 2008.

     L159)      “Cardiorenal Syndrome: the Diagnostic Value of Brain Natriuretic Peptide and
        Neutrophil Gelatinase Associated-Lipocalin in Interventional Cardiology,” Cardiovascular
        Biomarkers which Enhance Clinical Practice in Emergency Medicine and Cardiology: the
        State of the Art for Markers of Necrosis, Hemodynamic Stress and Cardiorenal Syndrome,
        Satellite Symposium to the European Society of Cardiology Annual Scientific Sessions,
        Munich, Germany, September 2, 2008.

     L160)    “Diagnosis and Management of Diabetes, Hypertension, and Acute Dyspnea,” 2008
        CVD and CKD Intersection Consensus Conference, Chicago, IL, September 26, 2008.

     L161)      “Chronic Kidney Disease and Contrast Nephropathy (Contrast-Induced Acute Kidney
        Injury [CI-AKI]): From Prognostic Scores to the Latest Preventive Strategies” Complex
        Patients, Complex Lesions, 20 th Annual Transcatheter Therapeutics Conference,
        Washington, DC, October 14, 2008.

     L162)    “Chronic Kidney Disease: a CHD Risk Equivalent” 2008 Cardiometabolic Health
        Congress, Harvard Medical School, Boston, MA, October 19, 2008.

     L163)   “Hyperphosphatemia as a Cardiovascular Risk Factor” Nephrology Conference, The
        Ottawa Hospital, Ottawa, Ontario, Canada, October 28, 2008.

     L164)     “Cardiovascular Calcification in Patients with Chronic Kidney Disease” Nephrology
        Division-Wide Conference, The Ottawa Hospital, Ottawa, Ontario, Canada, October 28,
        2008.

     L165)    “Hyperphosphatemia and CVD Risk,” Management of Hyperphosphatemia Across the
        Continuum of CKD, American Society of Nephrology Satellite Symposium, Philadelphia, PA,
        November 8, 2008.

     L166)    “Cardiovascular Calcification” Nephrology Grand Rounds, Humber River Regional
        Hospital, Toronto, Ontario, Canada, December 9, 2009.

     L167)    “Cardiovascular Calcification” Nephrology Grand Rounds, St. Joseph’s Hospital,
        Toronto, Ontario, Canada, December 9, 2009.

     L168)    “Critical Concepts in the Progression of Atherosclerosis” 18 th Annual Cardiovascular
        Conference at Beaver Creek, Beaver Creek, CO, February 9, 2009.

     L169)    “New Molecular Targets in the Treatment of Atherosclerosis” 18 th Annual
        Cardiovascular Conference at Beaver Creek, Beaver Creek, CO, February 9, 2009.


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     L170)    “Sudden Cardiac Death in Patients with Renal Disease” 18 th Annual Cardiovascular
        Conference at Beaver Creek, Beaver Creek, CO, February 12, 2009.

     L171)    “Cardiovascular and Renal Implications of Contrast Media” Radiology Grand Rounds,
        The Kingston Hospital, Queens University School of Medicine, Kingston, Ontario, Canada,
        March 3, 2009.

     L172)    “Recent Evidence into the Pathophysiology of Cardiovascular Calcification in Chronic
        Kidney Disease,” NKF Symposium 2009 Spring Clinical Meetings, “Exploring Recent
        Evidence Related to Cardiovascular Calcification and Chronic Kidney Disease”, Nashville, TN,
        March 27, 2009.

     L173)    “Chronic Kidney Disease: Implications For Patients With CAD” Managing the High Risk
        Coronary Patient, I2 Summit, American College of Cardiology Annual Scientific Sessions,
        Orlando, FL, March 30, 2009.

     L174)    “BNP and Cardiovascular Disease” Cardiology Grand Rounds, Hospital PróCardíaco,
        Rio deJaniero, Brasil, April 14, 2009.

     L175)     “Acute Cardiac Effects of Marathon Running” Special Guest Lecture, CLINIMEX -
        Clínica de Medicina do Exercício, Rio deJaniero, Brasil, April 14, 2009.

     L176)    “Interface entre doenca renal e cardiovascular: o rim mata o coracao ou o coracao
        mata o rim? Da para evitar esse extermino?” Terapeutica Cardiovascular International,
        Hospital Espanhol, Salvador, Brasil, April 17, 2009.

     L177)     “A angiotomografia coronaria deve ser empregada em todo paciente com do toracica
        de risco baixo-moderado?” Terapeutica Cardiovascular International, Hospital Espanhol,
        Salvador, Brasil, April 17, 2009.

     L178)     “Conferencia Internacional: Opportunidades para aperfeicoar o tratamento da
        insuficiencia cardiaca avancada/descompensada” Terapeutica Cardiovascular International,
        Hospital Espanhol, Salvador, Brasil, April 17, 2009.

     L179)     “Invasive Versus Non-invasive Coronary Angiography: Guidelines for Achieving
        Optimal Outcomes” Annual Scientific Sessions of the Society for Cardiac Angiography and
        Intervention, Las Vegas, NV, May 7, 2009.

     L180)     “Cardiorenal Syndrome” Moderator, American Society of Nephrology Annual
        Scientific Sessions, Renal Week 2009, San Diego, CA, October 29, 2009.

     L181)    “The Creatinine Changes: Now What?” Cardiorenal Syndromes, Annual Scientific
        Sessions, AHA, Orlando, FL, November 16, 2009.


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     L182)    “Cardiorenal Syndromes: Strategies for Success” 19 th Annual Cardiovascular
        Conference at Beaver Creek, Avon, CO, February 6-11, 2010.

     L183)     “Cardiomyopathy of Obesity” 19th Annual Cardiovascular Conference at Beaver
        Creek, Avon, CO, February 6-11, 2010.

     L184)    “Why Does Atherosclerosis Calcify: Clinical Implications” 19 th Annual Cardiovascular
        Conference at Beaver Creek, Avon, CO, February 6-11, 2010.

     L185)    “Prevention Trials in AKI” 15th International Conference on Continuous Renal
        Replacement Therapies (CRRT: 2010) Scientific Meeting, Del Coronado, CA, February 24,
        2010.

     L186)    “Cardiology Trials” 15th International Conference on Continuous Renal Replacement
        Therapies (CRRT: 2010) Scientific Meeting, Del Coronado, CA, February 24, 2010.

     L187)    “Contrast Nephropathy: Prevention and Management” 15 th International
        Conference on Continuous Renal Replacement Therapies (CRRT: 2010) Scientific Meeting,
        Del Coronado, CA, February 26, 2010.

     L188)    “Lipoprotein-Associated Phospholipase A2 (Control#: 4599)” Symposium: Do New
        Markers & Genomics Enhance Risk Prediction? Annual Scientific Sessions of the ACC,
        Atlanta, GA, March 15, 2010.

     L189)    “New Insights Into the Role of Heart-Kidney Interactions in the Cardiorenal
        Syndrome” (Control#: 16660) Symposium: Recognition and Management of the Cardiorenal
        Syndrome in Advanced Heart Failure, Annual Scientific Sessions of the American College of
        Cardiology, Atlanta, GA, March 15, 2010.

     L190)     “B-Type Natriuretic Peptides in Cardiorenal Syndromes” 5 th Annual Turning Science
        into Caring Symposium, Wiesbaden, Germany, March 25, 2010.

     L191)    “CKD and CVD Interaction in KEEP” KEEP Update: the Common Soil of CKD and CVD,
        NKF Spring Clinical Meetings, Orlando, FL, April 16, 2010.

     L192)    “Cardio Renal Intersection, Crossroads to the Future - Novel Coronary Risk Factors"
        NKF Spring Clinical Meetings, Orlando, FL, April 16, 2010.

     L193)    “Diagnostic Workup of suspected heart disease in CKD” NKF Spring Clinical Meetings,
        Orlando, FL, April 17, 2010.

     L194)    “BNP: Beyond Heart Failure (BNP más allá de la insuficiencia cardiaca)”, XIX Chile
        2010 Congreso Latinoamericano de Bioquimica Clinica, XVI Congreso Chileno de Quimica


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        Clinica, Biomarcadores en Enfermedades Cario-Renales COLABIOCLI 2010, Santiago del
        Chile, April 21, 2010.

     L195)    “Prevention of Cardiorenal Syndromes”, 19 th International Vicenza Course on Critical
        Care Nephrology, Vicenza, Italy, June 10, 2010.

     L196)    “La Pandemia de la Obesidad: Que podemos hacer aquí y ahora” “Importancia de la
        Evaluación previa y el monitoreo cardiaco en rehabilitación cardiaca” “Ergoespirometria:
        Diagnostico e implicaciones terapéuticas,” Sociedad Columbiana de Cardiologica y Ciruga
        Cardiovacular Fundacion Columbiana del Corazon Comite de Prevencion y Rebabilitacion
        Cardiovascular Dia Mundial del Corazon, Santa Marta, Columbia, September 25, 2010.

     L197)   “CKD: A CHD Equivalent” 2010 Cardiometabolic Health Congress (CMHC), Boston
        MA, October 22, 2010.

     L198)    “Treatment Disparities in Patients with Acute Coronary Syndromes and Kidney
        Disease” AHA Scientific Sessions 2010, Chicago, IL, November 13, 2010.

     L199)   “Integration of Advanced Information Technology into Nephrology Practice”
        Moderator, at the American Society of Nephrology, Denver, CO, November 21, 2010.

     L200)    “Cardiorenal Syndromes” Special Lecture, Mansoura Nephrology and Urology
        Center, Mansoura, Egypt, November 29, 2010.

     L201)     “Neutrophil Gelatinase Associated Lipocalin.” Al Mokhtabar Laboratories, Cairo,
        Egypt, December 1, 2010.

     L202)   “Cardiorenal Syndromes” ACC Williamsburg Conference, Williamsburg, VA,
        December 5, 2010.

     L203)    “Micronutrients and Cardiorenal Disease: Insights into Novel Assessments and
        Treatment” 13th International Conference on Dialysis, Advances in CKD 2011, Miami, FL,
        January 26, 2011.

     L204)    “Managing High Risk Patients in a i2 Spotlight entitled Cardiac Care Team Spotlight:
        Approaches for CAD Management” American College of Cardiology 60th Annual Scientific
        Session and i2 Summit 2011, April 2, 2011, in New Orleans, LA.

     L205)     “Lipid Management in Patients with Renal Insufficiency in a ACC Symposium entitled
        Lipid Management in Special Populations” American College of Cardiology 60th Annual
        Scientific Session and i2 Summit 2011, April 2, 2011, in New Orleans, LA.

     L206)    “KEEP Symposium 2011: KEEP A New Longitudinal Dimension for a New Decade”
        NKF Spring Clinical Meetings, April 29, 2011, Las Vegas, NV.
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     L207)    “Disparities of Treatment for ACS and Heart Failure in CKD Patients” 20 th
        International Vicenza Course on Hemodialysis and CKD, June 8, 2011, Vicenza, Italy.

     L208)    “AKI: Can We Prevent It?” 20th International Vicenza Course on Hemodialysis and
        CKD, June 9, 2011, Vicenza, Italy.

     L209)    “Measuring Natriuretic Peptides in Acute Coronary Syndromes” American
        Association of Clinical Chemistry Annual Meeting, Atlanta, GA, July 26, 2011.

     L210)      “Biomarkers in Stable Angina and Microvascular Dysfunction”, Emerging Role of
        Biomarkers in Cardiorenal Syndrome and Acute Coronary Syndrome: Diagnosis
        Stratification and Management, Siena Italy, September 2, 2011.

     L211)    “Cardiorenal Syndrome Definition and Scope: Cardiac Perspective” 28 th National
        Congress of Nephrology, Hypertension, Dialysis, and Transplantation, Antalya, Turkey,
        October 20, 2011.

     L212)    “Targeted Hypertension Management for Optimal Cardiorenal Outcomes” 28 th
        National Congress of Nephrology, Hypertension, Dialysis, and Transplantation, Antalya,
        Turkey, October 22, 2011.

     L213)    “The KEEP Experience” 3rd International Symposium on Albuminuria – The
        Prognostic Role of Albuminuria: Impact on Kidney and Cardiovascular Outcomes,
        Groningen, Netherlands, December 1, 2011.

     L214)    “Cardiorenal Syndromes” Cardiology Guest Lecture, University of Chicago, Pritzker
        School of Medicine, Chicago, IL, January 18, 2012.

     L215)     “Diagnosis of Cardiovascular Disease in CKD” 14th international conference on
        dialysis, advances in CKD 2012, Palm, Harbor, FL, January 26, 2012

     L216)    “Acute Kidney Injury Guidelines” KDIGO Clinical Practice Conference: KDIGO
        Guidelines on Acute Kidney Injury, Glomerulonephritis, and Anemia, Shanghai, China,
        February 5, 2012

     L217)     “Galectin-3: A Novel Blood Test for the Evaluation and Management of Heart
        Failure” Cardiology Grand Rounds, University of Arkansas for Medical Sciences, Little Rock,
        Arkansas, February 8, 2012

     L218)    “Contrast-Induced Acute Kidney Injury” 17 th Annual CRRT 2012, Acute Kidney Injury
        Controversies, Challenges, and Solutions, San Diego, CA February 15, 2012



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     L219)     “Recent Trials in the Prevention of Contrast-Induced AKI: Importance of Emerging
        Biomarkers” 17th Annual CRRT 2012, Acute Kidney Injury Controversies, Challenges, and
        Solutions, San Diego, CA February 17, 2012

     L220)     “Role of Galectin-3 in Heart Failure” Joint American Association of Cardiologists of
        Indian Origin and ACC Dinner Symposium, American College of Cardiology Scientific Sessions
        2012, Chicago, IL, March 25, 2012

     L221)    “Bariatric Surgery: A Cure for Obesity?” American College of Cardiology Scientific
        Sessions 2012, Joint Symposium of the American Association of Clinical Endocrinologists and
        the ACC: Cardiologists as Endocrinologists – Emerging Management of the Diabetic Patient,
        Chicago, IL, March 26, 2012

     L222)    “Practical Management of Obesity for the Cardiologist” 48 th Annual Robert M.
        Jeresaty Cardiovascular Symposium, Hartford, CT, May 3, 2012

     L223)    “Prevention of Cardiovascular Events: Beyond Statins” 48 th Annual Robert M.
        Jeresaty Cardiovascular Symposium, Hartford, CT, May 3, 2012

     L224)     “Contrast Media and Patient Safety: The Clinical Impact” Swiss Congress of Radiology,
        Zurich, Switzerland, May 31, 2012

     L225)    “Importance of Methodological Rigor in CI-AKI Meta-Analyses” 48 th Congresso
        Nazionale Italian Society of Radiology (SIRM), Torino, Italy, June 2, 2012

     L226)   “Chronic Kidney Disease and Heart Failure” 2012 Cardiometabolic Health Congress
        (CMHC) Boston, MA, October 12, 2012

     L227)    “Chronic Kidney Disease and Acute Myocardial Infarction” CKD a Recipe for CVD
        Disaster, Kidney Week, American Society of Nephrology, San Diego, CA, October 30, 2012

     L228)    “Epidemiology and Pathophysiology of Coronary Artery Disease in Chronic Kidney
        Disease” Scientific Sessions 2012, AHA, Los Angeles, CA, November 5, 2012

     L229)    “The Cardiorenal Syndrome” Acute Dialysis Quality Initiative 11: Cardiorenal
        Syndromes, Venice, Italy, November 30, 2012

     L230)    “Cardiorenal Syndromes” Cardiology Grand Rounds, University of Missouri School of
        Medicine, Columbia, MO, December 20, 2012

     L231)    “Diagnosis and Management of Coronary Disease in Patients with Kidney Disease”
        Internal Medicine Grand Rounds, University of Missouri School of Medicine, Columbia, MO,
        December 20, 2012


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     L232)    “The Hypertension Epidemic: Are We Any Further Ahead?” 22nd Annual
        Cardiovascular Conference at Beaver Creek, Avon, CO, February 9-16, 2013

     L233)    “Cardiorenal Syndromes: The Cardiac Perspective” Inaugural Cardio Renal Society of
        America (CRSA), 14th Annual Southwest Nephrology Conference (SWNC), Chandler, AZ,
        March 2, 2013

     L234)     "Managing Hyponatremia in Cardiorenal Syndromes" Satellite Symposia to the NKF
        Spring Clinical Meetings, Orlando, FL, April 3, 2013

     L235)    “Session Title: Debate: To Screen or Not to Screen for CKD--PRO? NKF Spring Clinical
        Meetings, Orlando, FL, April 5, 2013

     L236)     “Galectin-3: A Novel Biomarker for the Assessment and Management of Heart
        Failure” Heart Failure Conference, University of Pittsburgh Medical Center, Pittsburgh, PA,
        May 28, 2013

     L237)   “The Kidney in Heart Failure” 31st International Vicenza Course on Critical Care
        Nephrology, June 11-14, 2013, Vicenza, Italy

     L238)    “Contrast-Induced Acute Kidney Injury” 31st International Vicenza Course on Critical
        Care Nephrology, June 11-14, 2013, Vicenza, Italy

     L239)    “Novel Biomarkers in the Prognosis and Management of Heart Failure” BUMC
        Medicine Grand Rounds, August 20, 2013, Dallas, TX

     L240)    “Cardiorenal Syndromes: New Insights into Combined Heart and Kidney Failure”
        Cardiology Grand Rounds, University of Virginia Medical Center, August 26, 2013,
        Charlottesville, VA

     L241)     “Major Advances in the Treatment of Atherosclerosis: New Options for Patients with
        Familial Hypercholesterolemia and Those Intolerant to Conventional Lipid Lowering
        Therapy” Cardiology Update, University of Missouri School of Medicine, September 14,
        Columbia, MO

     L242)    “Keynote Address: Recent Advances in the Assessment of Acute Kidney Injury with
        Neutrophil Gelatinase Associated Lipocalin” 47th Brazilian Congress of Clinical Pathology
        and Laboratory Medicine, September 23, 2013, Sao Paulo, Brazil.

     L243)    “Advancements in Cardiometabolic Risk Assessment: Expert Analysis of Recent
        Evidence and Outcomes” 2013 Cardiometabolic Health Congress, October 2, 2013, Boston,
        MA.



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     L244)    “Keynote Address: Cardiorenal Syndromes: New Insights to Patients with Combined
        Heart and Kidney Failure” Fourth Italian Great Network Congress, Focus on Innovation and
        Translational Research in Emergency Medicine, Sapienza Universita di Roma, October 14-18,
        2013, Rome, Italy.

     L245)    “Practical Experience with Galectin-3” Fourth Italian Great Network Congress, Focus
        on Innovation and Translational Research in Emergency Medicine, Sapienza Universita di
        Roma, October 14-18, 2013, Rome, Italy.

     L246)    “Using Novel Biomarkers in the Assessment and Management of Heart Failure” Bon
        Secours Cardiovascular Conference, October 25, 2013, Williamsburg, VA

     L247)      “Detection and Consequences of Iron Deficiency Anemia in CKD Patients” Session
        Title: The Role of Iron in the Optimization of Anemia Management in CKD, American Society
        of Nephrology, Kidney Week, November 9, 2013, Atlanta, GA

     L248)     “Bench to Bedside: What Happens to the Physiologic Systems After an Acute Bout of
        High Intensity/Volume Exercise?” Session Title: Cardiovascular Seminar entitled Potential
        Cardiotoxicity of Extreme Endurance Exercise, Annual Scientific Sessions of the AHA,
        November, 20, 2013, Dallas, TX.

     L249)     “Atrasentan for the treatment of diabetic nephropathy: how to control the risk of
        heart failure?” Session Title: “Lessons Learned from First Post FDA Guidance Case Studies
        of Diabetes CV Outcomes Trials, 10th Global CardioVascular Clinical Trialists (CVCT) Forum,
        December 7, 2013, Paris, France.

     L250)    “Reflection: Biomarker-based modeling tools: safer drugs and faster development?”
        A workshop initiated by the TI-Pharma Escher project for academia, industry, and the
        European Medicines Agency, January 24, 2014, Amsterdam, the Netherlands.

     L251)      “Focus on lipids: HDL and Its Associated Lipoproteins in Cardiac and Renal Disease”
        Changing Paradigms in Acute Kidney Injury: From Mechanisms to Management Sponsored
        by UAB/UCSD O’Brien Center for AKI Research, 19th International Conference on Advances
        in Critical Care, CRRT 2014, International Society of Nephrology, Acute Kidney Injury
        Network, March 4-7, 2014, San Diego, CA.

     L252)     “Cardiac and Renal Fibrosis in Chronic Cardiorenal Syndromes” Targeting Recovery
        from Acute Kidney Injury:, 19th International Conference on Advances in Critical Care, CRRT
        2014, International Society of Nephrology, Acute Kidney Injury Network, March 4-7, 2014,
        San Diego, CA.

     L253)    “Statins for AKI: Friend or Foe” Controversies in Critical Care Nephrology:, 19 th
        International Conference on Advances in Critical Care, CRRT 2014, International Society of
        Nephrology, Acute Kidney Injury Network, March 4-7, 2014, San Diego, CA.
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                                    Peter A. McCullough, M.D., M.P.H.


     L254)    “Managing Heart Failure and Cardiorenal Syndrome” Workshop, 19 th International
        Conference on Advances in Critical Care, CRRT 2014, International Society of Nephrology,
        Acute Kidney Injury Network, March 4-7, 2014, San Diego, CA.

     L255)    “ST2: A Novel Biomarker in the Assessment and Management of Heart Failure” 2 nd
        Annual Cardio Renal Society of America (CRSA), 15th Annual Southwest Nephrology
        Conference (SWNC), Ft. McDowell, AZ, March 8, 2014.

     L256)    “Cardiac and Renal Fibrosis in Chronic Cardiorenal Syndromes” 2 nd Annual Cardio
        Renal Society of America (CRSA), 15th Annual Southwest Nephrology Conference (SWNC),
        Ft. McDowell, AZ, March 8, 2014.

     L257)    “New Approaches to the Management of Cardiorenal Syndromes” 2 nd Annual Cardio
        Renal Society of America (CRSA), 15th Annual Southwest Nephrology Conference (SWNC),
        Ft. McDowell, AZ, March 8, 2014.

     L258)   “My New Favorite Biomarker: Galectin-3” 2014 UCSD Biomarkers in Clinical Practice
        Symposium, La Jolla, CA, April 5, 2014.

     L259)    “Changing Profile of Chronic Hyperkalemia” NKF Spring Clinical Meetings, Las Vegas,
        NV, April 24, 2014.

     L260)    “The Next Generation of Screening for Kidney Disease” NKF Spring Clinical Meetings,
        Las Vegas, NV, April 25, 2014.

     L261)    “Cardiorenal Syndromes” Cardiology, Diabetes & Nephrology at the Limits, Royal
        College of Physicians, London, UK, April 26, 2014.

     L262)     “Acute Cardiorenal Syndromes: New Insights into Combined Heart and Kidney
        Failure” Actual Problems of Extracorporeal Blood Purification in Intensive Care, Russian
        Scientific Society of Specialists in Extracorporeal Blood Purification, Bakoulev Scientific
        Center for Cardiovascular Surgery of the Russian Academy of Medical Sciences, Moscow,
        Russia, May 22, 2014.

     L263)     "Fibrosis in the Heart and Kidneys in the Pathogenesis of Chronic Cardiorenal
        Syndromes" Actual Problems of Extracorporeal Blood Purification in Intensive Care, Russian
        Scientific Society of Specialists in Extracorporeal Blood Purification, Bakoulev Scientific
        Center for Cardiovascular Surgery of the Russian Academy of Medical Sciences, Moscow,
        Russia, May 23, 2014.

     L264)     “Hyperkalemia: Old Foe with New Faces” 51 st European Renal Association – European
        Dialysis and Transplantation Association Congress, Amsterdam, the Netherlands, June 2,
        2014.
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                                    Peter A. McCullough, M.D., M.P.H.


     L265)    “Contrast Induced Complications in the Cath Lab” Transcatheter Cardiovascular
        Therapeutics (TCT) Russia, Moscow, Russia, June 16, 2014.

     L266)    “The RAASi Debate: Should RAAS Continue with a Declining GFR?: Will the Path be
        Clearer” Co-Chair, European Society of Cardiology, Barcelona, Spain, August 31, 2014.

     L267)     “Novel Markers of Acute and Chronic Kidney Injury,” Where Inflammation Meets
        Lipids: Broad Based Strategies for Risk Reduction, Cleveland Heart Labs, Cleveland, OH,
        September 12, 2014.

     L268)     “Advances in the Understanding of Acute and Chronic Cardiorenal Syndromes:
        Pathophysiological Crosstalk of Multiple Metabolic and Neurohormonal Systems” 41 st
        Williamsburg Cardiovascular Conference, Williamsburg, VA, December 7, 2014.

     L269)      “CHADS, CHADS-VASc, HAS-BLED, What Does it Mean and How Do We Use It? Atrial
        Fibrillation Session, Dallas-Leipzig Valve 2104, Dallas, TX, December 11, 2014.

     L270)      “Soup-to-Nuts Renal Failure: Caring for the Patient with Kidney Injury” Society of
        Critical Care Medicine, Phoenix, AZ, January 19, 2015.

     L271)    “RAASi Optimization in Heart Failure” 2 nd Annual Cardiorenal Society of America
        Meeting, Phoenix, AS, February 28, 2015.

     L272)     “Cardiac Surgery Associated Acute Kidney Injury” Association of Physician Assistants
        in Cardiac Surgery, Las Vegas, NV, March 3, 2015.

     L273)    “The Potassium Challenge in CKD: Managing Acute and Chronic Hyperkalemia: Novel
        Polymer-Based Potassium Binders: Clinical Evidence” NKF Spring Clinical Meetings, March
        27, 2015.

     L274)     “KEEP Healthy: Insights into CKD Care” NKF Spring Clinical Meetings, March 28, 2015.

     L275)     “The Heart of the Matter” NKF Spring Clinical Meetings, March 28, 2015.

     L276)     “Literature Review: CVD” NKF Spring Clinical Meetings, March 28, 2015.

     L277)    “Biomarkers of Kidney and Heart Injury in Cardiorenal Syndrome” Cardionephrology
        2015, Rome, Italy, April 16, 2015.

     L278)    “AKI after Acute Myocardial Infarction: Contrast, Organ Crosstalk and Complications”
        33rd Vicenza Course on Critical Care Nephrology in Vicenza, Italy, June 9-12, 2015.



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                                    Peter A. McCullough, M.D., M.P.H.

     L279)    “A New Mechanism of Action for Addressing Hyperkalemia: New Data on Non-
        Polymer Hyperkalemia Therapies” 33rd Vicenza Course on Critical Care Nephrology in
        Vicenza, Italy, June 9-12, 2015.

     L280)     “Lp-PLA2 as a marker of Vascular Inflammation and CHD Risk Assessment”
        Symposium: Advances in Laboratory Testing for Coronary Heart Disease; The New PLAC
        Test for Lp-PLA2 Activity, American Association of Clinical Chemistry Annual Meeting,
        Atlanta, GA, June 29, 2015.

     L281)    “Galectin-3 in the Prognosis and Management of Heart Failure” American
        Association of Clinical Chemistry Annual Meeting, Atlanta, GA, June 29, 2015.

     L282)     “Cardio-Renal Syndrome and Clinical Implications” AKI from Pathophysiology to
        Clinical Implications, Global Research on Acute Conditions Team (GREAT) Annual Meeting,
        Rome, Italy, September 5, 2015.

     L283)    “Lp-PLA2 and Testing for Primary Prevention Risk Assessment” 2015 Cardiometabolic
        Health Congress, Harvard Medical School, Boston, MA, October 22, 2015.

     L284)    “Heart and Kidney: a Dangerous Liaison” Comorbidities in Heart Failure: From
        Guidelines to Clinical Practice, 775 Anniversary University of Sienna, Sienna, Italy, October
        29, 2015.

     L285)    “Role of BNP, Pro-BNP, and Elevated Left Ventricular Mass in Cardiorenal Syndrome”
        American Society of Nephrology Kidney Week, San Diego, CA, November 6, 2015.

     L286)   “How to Use Urine Thromboxane B2 to Select and Monitor Aspirin Therapy”
        Moderator, Scientific Sessions 2015, AHA, Orlando, FL, November 10, 2015.

     L287)      “Putting it All Together: How to Use Urine 11-Dehydrothromboxane B2
        In Clinical Practice” Scientific Sessions 2015, AHA, Orlando, FL, November 10, 2015.

     L288)    “Neurogenic Orthostatic Hypotension” Moderator, Scientific Sessions 2015, AHA,
        Orlando, FL, November 10, 2015.

     L289)    “Cardiac Cachexia” Managing Disease Related Lean Body Mass Loss Through Clinical
        and Nutritional Interventions, The Sackler Institute for Nutrition Science The New York
        Academy of Sciences, New York, NY, December 4, 2015.

     L290)     “The Devastating Consequences of Systemic Hypertension and What To Do About
        It?” 42st Williamsburg Cardiovascular Conference, Williamsburg, VA, December 6-8, 2015.

     L291)     “The Impact and Management of Malnutrition in Patients with Heart Failure” Heart
        Failure University 2015, Conference Co-Chair, Los Angeles, CA, December 11-13, 2015.
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                                    Peter A. McCullough, M.D., M.P.H.


     L292)    “Acute and Chronic Cardiovascular Effects of Hyperkalemia: New Insights Into
        Prevention and Clinical Management” Heart Failure University 2015, Conference Co-Chair,
        Los Angeles, CA, December 11-13, 2015.

     L293)    “Lipoic Acid in the Prevention of Acute Kidney Injury” 21st International Conference
        on Continuous Renal Replacement Therapies CRRT 2016, San Diego, CA, February 16-18,
        2016.

     L294)    “Novel Approaches for Recognition and Management of Life Threatening
        Complications of AKI and CKD” 21st International Conference on Continuous Renal
        Replacement Therapies CRRT 2016, San Diego, CA, February 16-18, 2016.

     L295)    “Making Iodinated Contrast Less Nephrotoxic with Cyclodextrin” 21st International
        Conference on Continuous Renal Replacement Therapies CRRT 2016, San Diego, CA,
        February 16-18, 2016.

     L296)     “Cardiorenal Syndrome” 4th Annual Cardio-Renal Metabolic Conference, Cardiorenal
        Society of America, Phoenix, AZ, March 13, 2016.

     L297)      “Cardiorenal Syndromes Identification: Prevention and Management of CI-AKI” China
        Interventional Therapeutics (CIT), Beijing, Shanghai Zhong Shan Hospital, Shanghai, The 2nd
        Affiliated Hospital of Zhejiang University, Hangzhou, Xi Jing Hospital, Xi’an, Nanjing 1st
        Hospital, Nanjing, Peoples Republic of China, March 14-21, 2016.

     L298)    “Cardiorenal Syndromes” Keynote Address, Inaugural Cardio-Renal Connections
        Meeting, San Antonio, TX , April 16, 2016.

     L299)    “Galectin-3 in the Prognosis and Management of Heart Failure” American
        Association of Clinical Chemistry Annual Scientific Meeting, Philadelphia, PA, August 1,
        2016.

     L300)   Hemodialysis University, “Is It Heart Failure or Fluid Overload?”, Chicago, IL,
        September 10, 2016.

     L301)   “Novel Agents for the Treatment of Hyperkalemia” Heart Failure Society of America
        Annual Scientific Meeting, Orlando, FL, September 18, 2016.

     L302)    Symposium “Hyperkalemia in the Emergency Department: Updates on the Current
        Management of a Complex Condition.” “Novel Agents for the Prevention and Treatment of
        Hyperkalemia” American College of Emergency Physicians Scientific Assembly, Las Vegas,
        NV, October 14, 2016



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     L303)    Moderator “CVD in Patients with CKD: Update from the CRIC Study” Annual Scientific
        Sessions of the AHA, New Orleans, LA, November 13, 2016

     L304)    Program Chairman “A Night at the Museum: Inaugural Symposium of the
        Cardiorenal Society of America Transcending the Dinosaurs: Guiding AKI Prevention using
        next-gen biomarkers: Real World Experiences from modern practices” satellite Symposium
        at American Society of Nephrology Kidney Week, Field Museum, Chicago, IL, November 18,
        2016

     L305)    “Pathobiologic Systems Involved in Cardiorenal Disease” 43 rd Williamsburg
        Cardiovascular Conference, Williamsburg, VA, December 3-5, 2016

     L306)   “Cardiac Cachexia” Heart Failure University, MedReviews LLC, Los Angeles, CA,
        December 10, 2016

     L307)     “Is There a Role for Bariatric Surgery in Heart Failure Patients with Obesity?”
        Scientific Sessions 2017, American College of Cardiology , Washington, DC, March 18, 2017

     L308)   “Vascular and Cardiac Hypertrophy in Fabry Disease” 5 th Annual Fabry Nephropathy
        Update, Mexico City, Mexico, April 26, 2017

     L309)    “Introduction to Cardiorenal Medicine” Cardiorenal University, Anaheim, CA, May
        18, 2017

     L310)   “Sudden Death in End-Stage Renal Disease” Cardiorenal University, Anaheim, CA,
        May 18, 2017

     L311)    “Cardiorenal Syndromes and Heart Failure” Conference Chair, Disease Global
        Outcomes (KDIGO) Controversies Conference on Heart Failure in Chronic Kidney Disease,
        Athens, Greece, May 25-28, 2017

     L312)    “Vadadustat Does Not Prolong Corrected QT Interval In A Thorough QTC Study In
        Healthy Subjects” 54th ERA-EDTA Congress, Madrid, Spain, June 3-6, 2017

     L313)    “Cardiorenal Syndromes” 1st Annual Heart iN Diabetes: Where the Heart, Kidney,
        and Diabetes Meet in Clinical Practice, Philadelphia, PA, July 14-16, 2017

     L314)    “Cardiovascular Disease in Patients with Chronic Kidney Disease: A Serious Link” TOP
        2017--Target Organ Protection Conference, Bangalore, India, August 11, 2017

     L315)    “Statin Therapy to Prevent Onset and Progression of Vascular Disease” TOP 2017--
        Target Organ Protection Conference, Bangalore, India, August 11, 2017



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                                   Peter A. McCullough, M.D., M.P.H.

     L316)    “Keynote Address: Cardiorenal Society of America” 5 th Annual Scientific Meeting of
        the Cardiorenal Society of America, Phoenix, AZ, October 6, 2017

     L317)    “Cardiovascular Benefits of Home Hemodialysis” Addressing Unmet Needs in Dialysis:
        Cardiovascular Care and Volume Control Symposium, Kidney Week 2017 American Society
        of Nephrology, New Orleans, LA, November 4, 2017

     L318)    “CIEDs in ESRD Patients: What Are the Long-Term Data?” Kidney Week 2017
        American Society of Nephrology, New Orleans, LA, November 4, 2017

     L319)    “Cardiovascular Seminar Cardiorenal Syndrome: Who hurts who?” AHA Scientific
        Sessions 2017, Anaheim, CA, November 14, 2017

     L320)   “Cardiac and Renal Fibrosis in CRS” AHA Scientific Sessions 2017, Anaheim, CA,
        November 14, 2017

     L321)    Chair, Inaugural Cardiometabolic University and Nutrition Academy “The Skinny on
        Weight Loss: Practical Considerations for the Cardiovascular Specialist” MedReviews,
        Westlake, TX, December 1-3, 2017

     L322)     “Clinical Laboratory Advancements in Cardiometabolic Disease: Screening, Diagnosis,
        Prognosis, and Management” 44th Annual Williamsburg Conference on Heart Disease,
        Williamsburg, VA, December 4, 2017

     L323)    “The Skinny on Weight Loss: Practical Approaches for the Cardiovascular Specialist”
        Cardiometabolic University 2017, Conference Chair, Dallas, TX , December 1-3, 2017

     L324)    “Diagnosis, Evaluation, and Role of Biomarkers in Heart Failure” Heart Failure
        University 2017, Conference Co-Chair, Los Angeles, CA, December 10-12, 2017

     L325)     “Biomarkers of Kidney Dysfunction and Cardiorenal Syndrome” University of
        California at San Diego 14th Annual Biomarkers in Heart Failure and Acute Coronary
        Syndromes: Diagnosis, Treatment and Devices, San Diego, CA, March 2, 2018

     L326)    “What do I do to Prevent Contrast Induced Renal Injury” 23rd International
        Conference on Continuous Renal Replacement Therapies CRRT 2018, San Diego, CA, March
        8, 2018

     L327)    “AKI in the patient with Cancer” 23rd International Conference on Continuous Renal
        Replacement Therapies CRRT 2018, San Diego, CA, March 8, 2018.

     L328)    “CKD-Related Anemia and Cardiac Complications” NKF Spring Clinical Meetings,
        Austin, TX April 14, 2018


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                                   Peter A. McCullough, M.D., M.P.H.

     L329)   “Principles of Distributive Shock” Cardiorenal Society of America National Grand
        Rounds Series, Boston, MA, April 30, 2018

     L330)    “Biomarkers with More Muscle: Moving Beyond Serum Creatinine to Define
        Cardiorenal Syndrome in HF” Heart Failure Society of American Annual Scientific Sessions,
        Nashville, TN, September 15, 2018

     L331)    “Heart Failure in Cardiorenal Syndrome: Updates on Biomarkers” Cardiorenal Society
        of America Annual Scientific Meeting, Phoenix, AZ, October 6, 2018

     L332)     “Novel Approaches in Lowering LDL-C” Cardiorenal Society of America Annual
        Scientific Meeting, Phoenix, AZ, October 6, 2018

     L333)    “What Do We Know About Cardiorenal Physiology? An Overview” American Society
        of Nephrology Kidney Week, San Diego, CA, October 26, 2018

     L334)    “Prevention of Heart Failure: The Next Frontier” Cardiometabolic Health
        Conference, Boston, MA, October 27, 2018

     L335)    “AKI and Heart Failure: How to Manage Compared to the General Population”
        Cardiometabolic Health Conference, Boston, MA, October 27, 2018

     L336)    “SGLT-2 Inhibitors and Cardio-renal Outcomes: Mechanistic Role and Rationale for
        Treatment of Heart Failure” American Heart Association Annual Scientific Sessions,
        Chicago, IL, November 10, 2018

     L337)     “Obesity and Heart Disease” 44th Annual Williamsburg Conference on Heart Disease,
        Williamsburg, VA, December 4, 2018

     L338)    “Current Concepts in Hypertension Management” University of Texas Health Science
        Center, Tyler, TX, January 15, 2019

     L339)    “Managing the Heart Failure Patient with Worsening Renal Function (WRF)” 24th
        International Conference on Continuous Renal Replacement Therapies CRRT 2019, San
        Diego, CA, February 28, 2019

     L340)    “Cardiorenal Syndrome: What Have We Learned?” 24th International Conference on
        Continuous Renal Replacement Therapies CRRT 2019, San Diego, CA, February 28, 2019

     L341)    ” Debate: Biomarker Guided Heart Failure Therapy: Con: Neuropeptides; ST2” 15th
        Annual USCD Biomarkers in Heart Failure and Acute Coronary Syndromes, Diagnosis,
        Treatment & Devices, La Jolla, CA March 1, 2019

     L342)     “Cardiorenal Syndromes” Cardionephrology Congress, Rome, March 12 to 14, 2019
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     L343)    “Iron and Heart Failure” Cardiometabolic Health Congress West meeting in Phoenix,
        AZ on Saturday, May 4, 2019

     L344)   “Up to Date Management of Arrhythmias in Dialysis Patients” National Kidney
        Foundation Spring Clinical Meetings, May 11, 2019

     L345)    “Lipids in Chronic Kidney Disease” National Kidney Foundation Spring Clinical
        Meetings, May 11, 2019

     L346)    “Cardiorenal Syndromes” Helen Dunham Cardio-Renal Lecture and Cardiovascular
        Grand Rounds, Brigham and Women’s Hospital, Boston, MA, May 23, 2019

     L347)    “Chronic Kidney Disease as a Cardiovascular Risk State” Helen Dunham Cardio-Renal
        Lecture and Cardiovascular Grand Rounds, Brigham and Women’s Hospital, Boston, MA,
        May 23, 2019

     L348)    “Biomarkers and Assessment of Cardiac Function In Fabry Cardiomyopathy” 6th
        Update on Fabry Disease: Biomarkers, Progression and Treatment Opportunities, Prague,
        Czech Republic, May 26-28, 2019

     L349)     “Contrast-Induced Acute Kidney Injury” 37th Vicenza Course on AKI &CRRT, Vicenza,
        Italy, May, 28-30 2019

     L350)    “Cardiac Biomarkers in AKI” 37th Vicenza Course on AKI &CRRT, Vicenza, Italy, May,
        28-30 2019

     L351)    “Risk Mitigation in the Cardiac Catheterization Laboratory” 37th Vicenza Course on
        AKI &CRRT, Vicenza, Italy, May, 28-30 2019

     L352)    “Pathophysiology and Current Concepts in Classification” Clinical Practice Clinical
        Science Track: Treatment of Cardiorenal Syndrome, American Heart Association
        Hypertension Scientific Sessions, New Orleans, LA, Sept 8, 2019

     L353)     “Cardiovascular Genetics” 44th Annual Williamsburg Conference on Heart Disease,
        Williamsburg, VA, December 9, 2019

     L354)    “Cardiorenal Syndromes” 17th World Congress on Insulin Resistance, Diabetes &
        Cardiovascular Disease (WCIRDC), Los Angeles, CA, December 4-7, 2019

     L355)    “Cardiorenal Syndromes” Internal Medicine Grand Rounds, Eastern Virginia College
        of Medicine, Norfolk, VA, February 19, 2020



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     L356)   "Keynote Address: Prevention of Heart and Kidney Disease” Annual Cardio Renal
        Metabolic Conference, Cardiorenal Society of America, Phoenix, AZ March 6, 2020

     L357)    “Cardioprotective Effects of Antidiabetic Medications: Focus on Sodium-Glucose
        Transporter-2 Antagonists” Annual Cardio Renal Metabolic Conference, Cardiorenal Society
        of America, Phoenix, AZ March 7, 2020

     L358)    “Fabry Disease: A Unique Cardiorenal Model” Annual Cardio Renal Metabolic
        Conference, Cardiorenal Society of America, Phoenix, AZ March 7, 2020

     L359)    “Biomarkers in Heart and Kidney Disease: Practical Applications” Annual Cardio
        Renal Metabolic Conference, Cardiorenal Society of America, Phoenix, AZ March 7, 2020

     L360)    “Expert Briefing from ADA 2020 Select Sessions: Update on Heart Failure for the
        Diabetologist & Cardiorenal–Metabolic Axis in Diabetes” American Diabetes Association,
        June 14, 2020

     L361)    “CKD, CHD and Hyperkalaemia: Clinical Outcomes, Morbidity and Mortality”
        American College of Cardiology - American Society of Nephrology Masterclass September
        11, 2020

     L362)    “RAASi Enabling in Cardiology Practice - Traditional vs New Potassium Binders;
        Potassium Binders for Treatment of Hyperkalaemia in HF” American College of Cardiology -
        American Society of Nephrology Masterclass September 11, 2020

     L363)   ”Optimizing Transitions from Hospital to Home: Best Practices for Reducing
        Readmissions in Heart Failure” Hospital Management Summit, October 3, 2020.

     L364)    “Assessment and Management of Hyperkalemia in the Hospital Setting: Optimizing
        Patient Outcomes” Hospital Management Summit, October 3, 2020.

     L365)    “Navigating the Challenges of Cardio-Renal Syndrome” 7th Annual Kansas
        Cardiovascular Symposium, October 10, 2020

     L366)   ”Management Considerations for Heart Failure in CKD” American Society of
        Nephrology Kidney Week 2020, October 24, 2020

     L367)    “Pathophysiologic Basis and Rationale for Early Ambulatory Treatment of SARS-CoV-2
        (COVID-19), SciInov, November 2, 2020

     L368)   “CV and Renal Benefits with new anti-diabetes medications: Potential Mechanisms”
        CReDO Conferences Middle East North Africa (MENA) 2020, November 6, 2020



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     L369)    “Consequences of Withholding GDMT for Heart Failure in CKD: One Step Forward,
        Two Steps Back” AHA 2020 November 16, 2020

     L370)     “Early Ambulatory Treatment for SARS-CoV-2 (COVID-19)” Early Outpatient
        Treatment: An Essential Part of a COVID-19 Solution. US. Senate Committee on Homeland
        Security and Governmental Affairs, Washington DC November 19, 2020

     L371)    “Pathophysiological Basis & Rationale for Early Outpatient Treatment of SARS-CoV-2
        (COVID-19) Infection” 18th Annual World Congress Insulin Resistance Diabetes &
        Cardiovascular Disease, December 3, 2020

     L372)   “Early Ambulatory Therapy for COVID-19 and Update on Vaccine Safety” Heritage
        Foundation, Washington DC, June 23, 2021

     L373)   “Pathophysiological Basis and Clinical Rationale for Early Ambulatory Treatment of
        COVID-19” Question Everything Conference Lockdowns – Is Now the Time for a Better
        Solution?, London, UK, July 17, 2021

     L374)     “Pathophysiological Basis and Clinical Rationale for Early Ambulatory Treatment of
        COVID-19 and Update on Vaccine Safety” American Academy of Anti-Aging Medicine, Ann
        Arbor, MI, July 18, 2021



 INTERNAL COMMITTEE POSITIONS

     1) Member, Henry Ford Medical Group Hypertension Control Committee, 1998.

     2) Ranking Member and Presenter, HFHS Institutional Review Board, 1998-2000.

     3) Member, HFHS Teaching and Education Committee, Co-Chair of the Research
        Subcommittee, 1999-2000

     4) Member, HFHS Graduate Medical Education Committee, 1999-2000.

     5) Member, HFHS, Internal Medicine Residency Selection Committee, 1998-2000.

     6) Chair, HFHS, Cardiovascular Diseases Fellowship Program Selection Committee, 1999-2000.

     7) Co-Chair, HFHS, Information Technology and Medical Records Committee, 1999-2000.

     8) Member, HFHS Department of Internal Medicine, Research Committee, 1999-2000.

     9) Member, UMKC Adult Health Sciences Institutional Review Board, 2001-2002

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     10) Member, UMKC, Cardiovascular Diseases Fellowship Program Selection Committee, 2000-
         2002

     11) Member, Truman Medical Center (TMC) Information Technology Steering Committee, 2001-
         2002.

     12) Member, WBH Diabetes Research Center Steering Committee, 2002-2003

     13) Chairperson, WBH Staff Privileges Appeals Committee, March 31, 2004

     14) Chairperson, WBH Search Committee for Medical Director of Transplantation Medicine,
         2005-2006

     15) WBH Research Institute Board of Governors, board member, 2007-2010

     16) Oakland University William Beaumont School of Medicine, Medical Student Committee
         (founding) for development of Liaison Committee on Medical Education (LCME) application,
         2007-2010

     17) St. John Providence Health System Graduate Medical Education Steering Committee (Chair),
         2010 to 2013

     18) St. John Providence Health System Research Leaders Committee, Chair, 2010 to 2012; Co-
         Chair 2012 to 2013

     19) Ascension Michigan Research Affinity Group, Chair, 2010 to 2012; Co-Chair 2012 to 2013

     20) St. John Providence Health System Executive Committee, 2011 to 2013

     21) St. John Providence Health System Guidelines Committee, 2012 to 2013

     22) St. John Providence Health System Presidents Council, 2012 to 2013

     23) St. John Providence Health System Electronic Medical Record Meaningful Use Steering
         Committee, 2013

     24) BUMC Graduate Medical Education Committee, 2014 to present

     25) BUMC Internal Medicine Residency Program Clinical Competency Committee, 2014 to 2021

     26) BUMC Clinical Cardiology Fellowship Program Clinical Competency Committee, 2014 to
         2021


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                                    Peter A. McCullough, M.D., M.P.H.

     27) BUMC Founding Member, Department of Molecular Pathology and Medicine, 2016 to 2021

     28) BUMC Precision Medicine Executive Committee, 2016 to 2021

     29) BUMC COVID-19 Therapeutic Task Force 2020


 EXTERNAL COMMITTEE POSITIONS

     1) Member, AHA National Women’s Heart Disease and Stroke Campaign, Healthcare Provider
        Sub-Group, Dallas, TX, 1998-1999

     2) Member, AHA, Chronic Coronary Disease in the Elderly National Database Planning
        Committee, Dallas, TX, 1998-2000

     3) Chair, Michigan Chapter of the American College of Cardiology, Annual Mini-Board Review,
        1999-2000

     4) Member, Michigan Chapter of the American College of Cardiology, Annual Meeting Planning
        Committee, 1999-2000

     5) Member, National Kidney Disease Outcomes Quality Initiative (K/DOQI) Clinical Practice
        Guidelines Committee on Chronic Kidney Disease, Andrew S. Levey, MD, Chair, 2001-2002

     6) Member, K/DOQI Learning System (KLS)         Advisory Board, NKF, New York, NY, 2003 to
        2010

     7) Member, International EECP Patient Registry Working Group, 2003-2008.

     8) Counselor at large, Michigan Chapter of the American College of Cardiology, 2004-2006

     9) Member, Planning Committee, AHA, Prevention VIII Conference: Kidney Disease,
        Hypertension, and Cardiovascular Disease, January 26-28, 2006, Orlando, FL

     10) Chair, Contrast-Induced Nephropathy (CIN) Working Group Consensus Panel, (international,
         multispecialty, consensus panel with published findings) 2004-2006. Published in Am J
         Cardiol 2006 Vol 98(6)

     11) Workgroup Member, Kidney Disease Improving Global Outcomes (KDIGO), United States
         Representative, Amsterdam, Netherlands, 2004, 2006

     12) Member, Kidney Disease Improving Global Outcomes (KDIGO) Group for the development
         of Clinical Practice Guidelines for the Diagnosis, Evaluation, Prevention, and Treatment of


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                                    Peter A. McCullough, M.D., M.P.H.

        Chronic Kidney Disease Related Mineral and Bone Disorders (CKD-MBD), Paris, France,
        2007-2008

     13) Board of Directors Member, Kidney Disease Improving Global Outcomes (KDIGO), United
         States Representative, Brussels, Belgium, 2007-2010

     14) Workgroup Member, The Sixth International Acute Dialysis Quality Initiative (ADQI)
         Consensus Conference VI: Acute Kidney Injury in Cardiac Surgery, Vicenza, Italy May 27 –
         28, 2007

     15) Workgroup Leader, Prevention: The Seventh International Acute Dialysis Quality Initiative
         (ADQI) Consensus Conference VII: Cardiorenal Syndrome, Venice, Italy, September 4-5,
         2008, with publication n Nephrology, Dialysis, and Transplantation, 2010.

     16) Chairman, Natriuretic Peptide Testing in Acute Coronary Syndromes Consensus Panel, with
         published findings in Reviews in Cardiovascular Medicine 2010, Dallas, TX, March 2, 2010

     17) Scientific Advisory Board, NKF, New York, NY, 2010 to present

     18) Scientific Advisory Board, Cardiorenal Society of America, Phoenix, AZ, 2012 to present

     19) Workgroup Member, “Cardiovascular Disease in CKD: What is it and what can we do about
         it?” Kidney Disease Improving Global Outcomes (KDIGO), October 29-31, 2010, London,
         England.

     20) Chairman, “Cardio-Renal Syndromes II: from pathophysiology to therapy” Eleventh
         Consensus Conference Cardio-Renal Syndromes II November 30 – December 2, 2012,
         Venice, Italy.

     21) Conference Co-Chair: “Kidney Disease Global Outcomes (KDIGO) Controversies Conference
         on Heart Failure in Chronic Kidney Disease”, Athens, Greece, May 25-28, 2017

     22) Chairman, “Cardiometabolic University”, Dallas, TX, December 3-4, 2017

     23) Chair, American Heart Association Council on the Kidney in Cardiovascular Disease and
         Council on Clinical Cardiology. Cardiorenal Syndrome: Classification, Pathophysiology,
         Diagnosis, and Treatment Strategies: A Scientific Statement From the American Heart
         Association, 2019

     24) Committee Member, American College of Cardiology, Navigating Treatment Decisions for
         Patients with ASCVD and Multiple Comorbidities Committee, 2019-2020

     25) National and International Advisor/Reviewer/Presenter/Contributor for 4D Molecular
         Therapies, ABC News, Abbott Laboratories, AbbVie, Advanced Health Media, Aegerion,
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        Affymax, Akceia, Akebia, Alere North America, AMAG, Amersham, Amgen, Amylin,
        AntiSeptiscope, Aralez, Ardian, Adelyx, Arra Hitech, Astellas, AstraZeneca, Astute Medical,
        Atherotech, Axio, BG Medicine, Avenue Therapeutics, Aventyn, Back Bay Lifescience
        Advisors, Bayer, Biocritique, Bioexpertise, Biomarin, Bionest Partners, Bioporto, Biosite,
        Biostar, BioZ, Boehringer Ingelheim, Braintree Laboratories, Broeker, Bristol Myer Squibb,
        Cardiokine, Cardiorentis, Chapman and Priest, Charles River Associates, Chelsea
        Therapeutics, Chiesi USA, ClearView Healthcare Partners, Clinipace, Complexa, Connected
        Research and Consulting, CorMedix, Cornerstone Therapeutics, Corvidia, Covance, Critical
        Diagnostics, Cromsource, Crossover Technologies, Chrysalis BioTherapeutics, Cytopheryx,
        Cytel, DaVita, Daws, DeMatteo Monness, Diadexus, Daiichi Sankyo, Decision Resources, ECG
        Healthcare, Edwards Life Sciences, Elsevier, Espirion, F. Hoffmann-La Roche Ltd, Fast
        Biomedical, Fish and Richardson, LLC, Fisher Scientific, FlowMedica Inc, Frictionless Digital,
        Fresenius Medical Care, General Electric, Genzyme, Gerson Lehrman, Gilead, GVI Clinical
        Development Solutions, Health Law Partners, Healthspan DX, HealthSTAR Communications,
        Hershey, Hikari, Hogan Lovells, Hudson Global, ICON, Huff, Powell, and Bailey, LLC, IMC
        Press, Imidex, Impact Education, Instrumentation Laboratories, Intercept Pharmaceuticals,
        Intrinsic Life Sciences, Ischemix Technologies, Janssen, Jannsen, Johnson and Johnson,
        Jordan, KAI Research, Keryx, Ketchum, Inc, Knowledge Point 360, Kowa, Eli Lilly, LabCorp,
        Lewis Brisbois, Liberty Dialysis, Ligand, Lipocine, Litchfield Cavo, Luitpold Pharmaceuticals,
        Lundbeck, Maxaccess Managed Markets, MannKind, MEDACorp, MedEd Group, Medevera,
        Medical Exchange International, Medical Package, Medicines Company, Medicure Pharma,
        Inc., MedReviews, Medscape, Medtronic, Merck, Meridian 361 International Law Group,
        Meso Scale Diagnostics, Miller Tanner Associates, Mitsubishi, Nanomix, Nanosphere, Nabi
        Biopharmaceuticals, Navigant, NephroGenix, Neumedicines, Noorik GmbH, Norman,
        Hanson, and Detroy, LLC, Novartis, NovoNordisk, NxStage, Ortho Clinical Diagnostics,
        Osprey, Otsuka, Overcome, P-value Communications, Parexel, Pharmapprove, Pfizer,
        Phoenix Holdings, Physicians World, PLC Medical, Praetego, PriMed, Progenabiome, Quidel
        Corporation, Qualidigm, Quintiles, Reata, Reliant Pharmaceuticals, Renew Research,
        Relypsa, Repros Therapeutics, Roche Diagnostics, Rock Creek, Saferox, Saghmos
        Therapeutics, Salix, Sanfit, Sankyo, Sanofi, Sarepta Therapeutics, Scarritt Group, Sentinel
        Investment, Sloan Law Firm, Sphingotec, Spectracell, St. Jude Medical, Strataca Systems,
        Statprobe, Sunshine Heart, Synageva, Takeda, Tasly, TheHill, Thrasos, TrialSiteNews, Trinity,
        Triptych Health Partners, US Medical Management, Vasomedical, Verrow, Vindico, Visiting
        Physicians Association, Vitalmetrix, Vivus, Watermark, WebMD, ZS Pharma, Inc.




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